Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22ilo 124900

 

UNITED STATES BANIKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

IN RE: CHAPTER 11

PRIME SIX, INC., CASE NO.: 1-15-42334-CEC

DEBTOR,

 

THIRD AMENDED DISCLOSURE STATEMENT

 

ALLA KACHAN, ESQ.

Attorney for Debtor, Prime Six, Inc.
3099 Coney Island Ave, 3rd Floor
Brooklyn, NY 11235

Tel: (718) 513-3145
Fax: (347) 342-3156

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THIS IS NOT A SOLICITATION OF ACCEPTANCE OR
REJECTION OF THE PLAN. ACCEPTANCES OR
REJECTIONS MAY NOT BE SOLICITED UNTIL A
DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE
BANKRUPTCY COURT. THIS DISCLOSURE STATEMENT
IS BEING SUBMITTED FOR CONDITIONAL APPROVAL BUT HAS
NOT BEEN APPROVED BY THE COURT.

 
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A. INTRODUCTION

Pursuant to Section 1125 of Title 11 of the United States Code (the “Bankruptcy Code”),
Prime Six, Inc., the debtor and debtor-in possession (the “Debtor”) provides this third amended
Disclosure Statement (“Disclosure Statement”)to all of its known creditors and other parties
in interest in order to provide information deemed by the Debtor to be material and necessary
to enable such creditors and parties in interest to make a reasonable informed decision in the
exercise of their rights to vote on and participate in the Plan of Reorganization proposed by the
Debtor (the "Plan"). The proposed Plan is annexed hereto as Exhibit "A".

The information contained in this Disclosure Statement is based on the
representations made by the Debtor in its Petition and Schedules and ali other documents
provided to counsel for the Debtor and are believed to be accurate. It has not been subjected to a
certified audit or independent review. Therefore, no representation or warranty is made as to its
accuracy or completeness. However, the Debtor has reasonably endeavored to obtain and
supply all material information. The Office of the United States Trustee has not yet reviewed
and approved the Disclosure Statement. The Bankruptcy Court will conduct a hearing on the
final approval of the Disclosure Statement.

THE BANKRUPTCY COURT HAS SET AT ON AS
THE DATE AND TIME OF THE HEARING FOR FINAL APPROVAL OF THE
DISCLOSURE STATEMENT AND CONFIRMATION OF THE PLAN AND
OBJECTIONS THERETO, WHICH HEARING WILL BE HELD IN THE UNITED
STATES BANKRUPTCY COURT, EASTERN DISTRICT OFNEW YORK, 271 CADMAN
PLAZA EAST, BROOKLYN, NEW YORK 11201-1800. CREDITORS OF AND

HOLDERS OF INTERESTS IN THE DEBTOR MAY ATTEND SUCH HEARING,
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THE BANKRUPTCY COURT HAS FIXED AS THE DATE
AND TIME BY WHICH ALL WRITTEN OBJECTIONS TO CONFIRMATION OF THE
PLAN AND/OR THE DISCLOSURE STATEMENT SHALL BE FILED WITH THE
BANKRUPTCY COURT AND SERVED SO AS TO BE RECEIVED BY SAID DATE
UPON THE ATTORNEYS FOR THE DEBTOR AND THE UNITED STATES
TRUSTEE.

A BALLOT ACCOMPANIES THIS DISCLOSURE STATEMENT FOR YOUR
USE IN VOTING ON THE PLAN. IN ORDER TO BE CONFIRMED, THE PLAN
MUST BE ACCEPTED BY A MAJORITY IN NUMBER AND TWOTHIRDS IN
AMOUNT OF THOSE VOTING IN EACH CLASS IMPAIRED UNDER THE PLAN,
EXCEPT TO THE EXTENT THAT THE PLAN MAY BE CONFIRMED
NOTWITHSTANDING THE FAILURE TO OBTAIN SUCH ACCEPTANCE IN
ACCORDANCE WITH SECTION 1129(b) OF THE BANKRUPTCY CODE.

YOU ARE URGED TO REVIEW THE PLAN, THIS DISCLOSURE
STATEMENT, AND THE BALLOT WITH COUNSEL OF YOUR CHOICE,
HOLDERS OF CLAIMS WHICH ARE IMPAIRED UNDER THE PLAN MAY
VOTE TO ACCEPT OR REJECT THE PLAN’ BY COMPLETING,
MATLINGAND/OR FAXING THE ENCLOSED BALLOT SO AS TO BE RECEIVED ON
OR BEFORE TO DEBTOR’S ATTORNEYS, AT THE ADDRESS,
FAX NUMBER, AND/OR E-MAIL ADDRESS SET FORTH BELOW:

Law Offices of Alla Kachan, P.C,

3099 Coney Island Avenue, 3“ Floor

Brooklyn, NY 11235

Tel.: (718) 513-3145
Fax: (347) 342-3156

e-mail: alla@kachanlaw.com
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THE DEBTOR RECOMMENDS AND REQUESTS YOUR ACCEPTANCE OF
THE PLAN,

Other than the information set forth in this Disclosure Statement, the Debtor has not
authorized any person or entity to make representations concerning the Debtor, its business,
“their future income, the value of the Debtor’s assets, or the amounts to be distributed under
the Plan. Any representations or inducements made to secure your acceptance of the Plan
which is other than as contained in this Disclosure Statement should not be relied upon by

you in determining whether to accept or reject the Plan.

B. DEBTOR’S BACKGROUND

(i) Description of the Debtor and History of Debtor’s Business

The Debtor is a corporation formed under the laws of the State of New York. Since
December, 2011, the Debtor has been operating Prime Six, Inc., currently located at 242
Flatbush Avenue, Brooklyn, NY 11217.

(ii)  Debtor’s Insiders

The sole insiders of the Debtor as defined by § 101(31) of the Bankruptcy Code
are: Akiva Ofshtein is the sole shareholder of the Debtor. There was no compensation paid to
Mr. Ofshtein by the Debtor during the pendency of this Chapter 11 case or during the two
years prior to the commencement of the Debtor’s bankruptcy case.

Management of the Debtor Before and During the Bankruptcy

During the two years prior to the date on which the bankruptcy petition was filed, and

during the pendency of the Debtor’s chapter 11 case, Mr. Ofshteyn was the sole officer, and

director, of the Debtor. Various managers were employed by the Debtor for the two years prior to
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the filing of the petition, Robert Petrosyants was employed as manager after the filing of the
Chapter 11 case and throughout its’ pendency.

(iii) Events Leading to Chapter 11 Filing

The Debtoris a restaurant located at 242 Flatbush Avenue, Brooklyn, NY 11217.

The reasons for the filing of the instant Chapter 11 proceeding by Prime Six, Inc. were
brought about by a several concurrent causes. The Debtor’s principal is an attorney engaged in a
full time legal practice and is also the principal of several other businesses. Mr. Ofshtein hired a
manager to conduct day to day affairs, which led to several reputable managers to conduct day to
day affairs, whose poor management of the business finances led to accumulated tax debts,
dafaults in lease payments and accumulating debts to vendors.

Cc. HISTORY

The Debtor commenced this proceeding by filing a voluntary petition in the United
States Bankruptcy Court for the Eastern District of New York under Chapter 11 of the
Bankruptcy Code, on May 20, 2015 (the “Petition Date”).

On June 8, 2015 the Debtor filed a motion seeking the retention of Alla Kachan, Esq.
as bankruptcy counsel for the Debtor.

By an Order of the Court dated June 12, 2015, Alla Kachan’s retention was approved
on behalf of the Debtor.

On June 8, 2015 the Debtor filed a motion seeking the retention of Wisdom
Professional Services Inc. as bankruptcy accountant for the Debtor.

The supplemental affidavit of Michael Shtarkman was filed on September 21, 2015.

By an Order of the Court dated September 25, 2015, Wisdom Professional Services Inc.

retention was approved on behalf of the Debtor.
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Pursuant to Section 341 of the Bankruptcy Code, a meeting of creditors was held on July
17, 2015.

An order setting forth the last day to file proofs of claim was entered on June 1,
2015, scheduling the claims bar date as July 17, 2015 and scheduling claims filed by
governmental units on or before November 16, 2015.

On September 13, 2015 Motion for Adequate Protection was Filed by United States of
America, Department of the Treasury, Internal Revenue Service.

On October 8, 2015 Affirmation in Opposition to creditor United States of America's
motion for abequate protection was filed by Debtor. The parties reached an agreement as to the
ammount of adequate protection, as set forth in the December 14, 2015 Stipulation and Order
Regarding Use of Cash Collateral and other Collateral and Adequate Protection. The agreed
upon monthly payment is $1,900.00,

D. PROJECTED RECOVERY OF AVOIDABLE TRANSFERS

The Debtor does not intend to pursue any preference, fraudulent conveyance, or other
avoidance actions. The Debtor’s sole insider Akiva Ofshtein did not received any wages during
the relevant period of time.

E. PLAN FUNDING

The entity’s reorganization plan is to maximize revenue by hiring one permanent
manager, who received a year end incentive bonus and is theredore directly interested in the
business’s successful operation. Moreso, streamlining the business operations and cutting down
on unnessasary staff and re- evaluation vendors to cut down costs. Increased marketing of
weekly theme parties and events will allow the business to be less dependent on seasonal

fluctuations.
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Mr. Ofshtein will be making a monetary contribution for the new marketing expenses out
of personal funds toward the which constitute new value, in order to retain his equity interest in

Prime Six, Ine.

F, CLASSIFICATION, AMOUNT AND NUMBER OF CLAIMS
The Plan divides all Claims and Interests into the following Classes, plus Administrative,
Priority Tax Claims and Statutory Fees.
1. Administrative Claims

Administrative claims consist of the Debtor’s duly retained professionals and any
other administrative expenses allowed under Section 503 of the Bankruptcy Code.

Administrative Claims will include the fees and expenses of the Debtor’s Counsel, Alla
Kachan, Esq., in the approximate amount of $3,000.00 (through confirmation, exclusive of the
pre-petition retainer received prior to the Petition Date in the amount of $12,000.00 from the
Debtor).

Wisdom Professional Services Inc, asserts a claim for the fees and expenses as accountants
for the Debtor, in the approximate amount of $5,000.00 (through confirmation, exclusive of
the pre-petition retainer received prior to the Petition Date in the amount of $1,000.00 from the
Debtor ). —

Internal Revenue Service assets an administrative claim in the approximate amount of
$1,365.98.

New York State department of taxation and Finance assets an administrative claim in
the approximate amount of $18,191.77.

New York State Department of Labor assets an administrative claim in the approximate
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amount of $24, 314.71.

The claims of Debtor’s professionals shall be subject to final fees applications pursuant
to Bankruptcy Code Section 330 and orders of the Court approving the fees and expenses as
sought by this application. The Debtor estimates that the total administrative fees paid to
professionals will equal to $ 51,872.46.

In order to confirm the Plan, it is necessary for the Debtor to satisfy the
Administrative Claims in full at or before Confirmation or have the holder of each
Administrative Claim agree to a different treatment.

2. Priority Claims

Allowed Priority Tax claims devided in the following Classes:

Class I - Secured Priority Tax Claims:

(i) Secured priority claim of New York State Department of Taxation and Finance in
the amount of $268,288.98 comprising base taxes and accumulated interest;

(it) Secured priority claim of Internal Revenue Service in the amount of $100,000.00
comprising base taxes and accumulated interest;

Class IT - Unsecured Priority Tax Claims:

(i) Unsecured Priority claim of the New York State Department of Taxation and
Finance in the amount of $ 55,439.96 comprising base taxes and accumulated interest;

(ii) Unsecured Priority claim of Internal Revenue Service in the amount of $
249,238.91 comprising base taxes and accumulated interest;

Class III - Unsecured Priority Tax Claims:

(i) New York State Department of Labor with a priority claim in the amount of $

31,034.43;
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(it) NYC Department of Finance Bankruptcy and Assignment Unit with priority
claim in the amount of $ 7,774.88;

3. In addition to Administrative, Priority, and general unsecured claims, there
exist statutory fees due and payable by the Debtor to the Office of the United States Trustee
pursuant to 28 U.S.C. § 1930(a)(6) and any applicable interest thereon shall be paid in cash by
the Effective Date. United States Trustee fees and any applicable interest thereon shall continue
to be paid by the Debtor until the earlier of Debtor’s case being closed by entry of a final
decree, converted, or dismissed.

4, Class IV consists of the claims of general unsecured creditors in the Debtor’s
case totaling approximately $ 454,943.62,

5. Class V consists of the claims of disputed general unsecured creditors in the
Debtor’s case totaling approximately $603,597.84,

6. Akiva Ofshtein, the Class VI interest holder.

G. REQUIREMENTS FOR CONFIRMATION OF THE PLAN
1. Confirmation Hearing
The Bankruptcy Court has set as the date and time for a
hearing to determine whether the Plan has been accepted by the requisite number of Creditors
and whether the other requirements for confirmation of the Pian have been satisfied. Each
Creditor will receive notice of the Confirmation Hearing.
2. Requirements for Confirmation
In order to confirm the Plan, Section 1129 of the Bankruptcy Code requires the Court to

make a series of determinations concerning the Plan, including that:
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a. the Plan classifies Claims and Interests in a permissible manner;
b. the Plan complies with the technical requirements of Chapter 11 of the
Bankruptcy Code;

c. the proponent of the Plan (here the Debtor) has proposed the Plan in good faith;

d. the Plan proponent’s disclosures concerning the Plan have been adequate and
have included information concerning all payments and distributions to be made in connection
with the Plan.

The Debtor believes that all of these conditions have been met or will be met by the
time of the Confirmation Hearing, and the Debtor will seek a determination of the Court to this
effect at the Confirmation Hearing.

3. Acceptances Necessary for Confirmation

The Bankruptcy Code requires that the Plan be accepted by requisite votes of Creditors,
except to the extent that "cram down" is available under Section 1129(b) of the Bankruptcy
Code. The Bankruptey Code requires that the Plan be feasible. Because the funds required for
The Plan shall be provided from revenue derived from the business, the Debtor anticipates
increasing its business volume by promoting special events in addition to the daily
operations, enhancing Debtor’s ability to make regular payments required under this Plan.

The Bankruptcy Code also requires that the Plan place each Creditor’s Claim in a
class with other Claims which are substantially similar. The Debtor believes that the
classification system in the Plan meets the Bankruptcy Code’s standard. Although the Court
must independently conclude that the Plan’s classification system is legally authorized, any
Creditor who believes that the Plan has improperly classified any group of Claims may object

to Confirmation of the Pian.
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At the Confirmation Hearing, the Court must determine, among other things, whether
the Plan has been accepted by each Class of Creditors who’s Claims are impaired under the
Plan.

Under Section 1126 of the Bankruptcy Code, any impaired Class is deemed to accept the
Plan if itis accepted by at least two-thirds in amount and more than one-half in number of the
Allowed Claims of Class members who have voted on the Plan. Further, unless there is
unanimous acceptance of the Plan by an impaired Class, the Court must also determine
that under the Plan, Class members will receive property of value as of the Effective Date of
the Plan that is not less than the amount such Class members would receive or retain if the
Debtor was liquidated under Chapter 7 of the Bankruptcy Code on the Effective Date. This
requirement is commonly referred to as the “Best Interests Test.”

Chapter 7:

To determine the value that the holders of Impaired Claims would receive if the Debtor
was liquidated, the Bankruptcy Court must determine the dollar amount that would be
generated from the liquidation of assets and properties of the Debtor in the context of a
chapter 7 liquidation case. Section 704 of the Bankruptcy Code requires a chapter 7 trustee to
collect and reduce to money the property of the estate as expeditiously as is compatible with the
best interests of parties in interest. In the case of the Debtor, a chapter 7 trustee would be
administrating an estate made up largely of the same Assets that are available for Creditors
under the Plan. The Cash available for satisfaction of Allowed Claims would consist of the
proceeds resulting from the disposition of assets of the Debtor, augmented by Cash, if any,
held by the Debtor at the time of the commencement of the chapter 7 case. That Cash amount

would then be reduced by the amount of any Claims secured by the assets, the costs and
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expenses of the liquidation, and additional Administrative Claims and other Priority Claims that
may result trom the use of chapter 7 for the purposes of liquidation. The costs of liquidation
under chapter 7 would include fees payable to the trustee in bankruptcy, as well as those that
might be payable to his or her attorneys and to other professionals that the trustee may engage,
plus any unpaid expenses incurred by the Debtor during the Chapter 11 Case that would be
allowed in the chapter 7 cases, such as compensation for attorneys, accountants or other
professionals and costs and expenses of the Debtor. These Administrative Claims would have
to be paid in Cash, in full, from the liquidation proceeds before the balance of those
proceeds could be made available to pay other Priority Claims and allowed General
Unsecured Claims from the Chapter 11 Case. In a chapter 7 case, there would be no
payment from any disposable income of the debtor after such conversion. Please see Exhibit
“B”, Liquidation Analysis,
4, Persons Entitled to Vote on the Plan

Only the votes of Classes who’s Claims are impaired by the Plan will be counted in
connection with Confirmation. Generally, this includes any Creditors who, under the Plan, will
receive less than payment in full of the Allowed Amount of their Claims on the Effective
Date.

In determining the acceptance of the Plan, votes will be counted only if submitted
by a Creditor whose Claim is scheduled by the Debtor as undisputed, non-contingent, and
liquidated or who timely filed with the Bankruptcy Court a proof of claim which has not been
objected to or disallowed.

5. Solicitation of Acceptances

This Disclosure Statement must be finally approved by the Court in accordance with
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Section 1125 of the Bankruptcy Code and be provided to each Creditor whose Claim has been
scheduled by the Debtor or who filed a proof of claim. This Disclosure Statement is intended
to assist Creditors whose Claims are impaired in evaluating the Plan and in determining
whether to accept or reject the Plan. Under the Bankruptcy Code, final approval of the
Disclosure Statement means that this document sets forth "adequate information” as required
by the Bankruptcy Code, and does not constitute a recommendation by the Court either for or
against the Plan,
6. How to Vote

A form of Ballot is being provided to the members of Classes I, II, [V and V by which
Creditors in those Class may vote to either accept or reject the Plan. To vote on the Plan, please
complete the enclosed Ballot by (1) indicating that you either accept or reject the Plan and (2)
Signing your name and mailing the Ballot.

BALLOTS MUST BE COMPLETED, SIGNED AND MAILED SO AS TO BE
RECEIVED BY DEBTOR’S COUNSEL NO LATER THAN 5:00 STANDARD TIME
ON. CoAT THE FOLLOWING ADDRESS OR THEY WILL NOT BE COUNTED:

Law Offices of Alla Kachan,P.C.

3099 Coney Island Avenue, 3” Floor

Brooklyn, NY 11235

IF YOUR BALLOT IS NOT PROPERLY COMPLETED, SIGNED AND
RECEIVED AS DESCRIBED, IT WILL NOT BE COUNTED. IF YOUR BALLOT IS
DAMAGED OR LOST, YOU MAY REQUEST A REPLACEMENT BY
ADDRESSING A WRITTEN REQUEST TO THE ADDRESS SHOWN ABOVE.

A copy of the proposed ballot has been annexed hereto as Exhibit “C”,

7. Objections to Confirmation
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Any objections to confirmation of the Plan must be in writing and must be filed with the
Bankruptcy Court and served on counsel listed below on or before

Counsel for the Debtor:

Law Offices of Alla Kachan, P.C.

Alla Kachan, Esq.

3099 Coney Island Avenue, 3" Floor
Brooklyn, NY 11235

H. DESCRIPTION OF THE PLAN

The following is a summary of certain provisions of the Plan.

A DISCUSSION OF THE PRINCIPAL PROVISIONS OF THE PLAN AS THEY
RELATE TO THE TREATMENT OF CLASSES OF ALLOWED CLAIMS ARE
SUMMARIZED BELOW. THE DISCUSSION OF THE PLAN THAT FOLLOWS
CONSTITUTES A SUMMARY ONLY AND SHOULD NOT BE RELIED UPON FOR
VOTING PURPOSES. YOU ARE URGED TO READ THE PLAN IN FULL IN
EVALUATING WHETHER TO ACCEPT OR REJECT THE PLAN. IF ANY
INCONSISTENCY EXISTS BETWEEN THIS SUMMARY AND THE PLAN, THE
TERMS OF THE PLAN CONTROL. ALL CAPITALIZED TERMS NOT
OTHERWISE DEFINED HAVE THE MEANINGS ASCRIBED TO 'THEM IN THE
PLAN.

7. Overview

The Plan contemplates reconciliation of outstanding Claims against the estate by the
Post-Confirmation Debtor, and the making of distributions to Creditors under the Plan in
accordance with the priorities established by the Bankruptcy Code by the Post- Confirmation

Debtor as Disbursing Agent. The Plan categorizes the Claims against the Debtor into distinct
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Classes. In accordance with the Bankruptcy Code, Administrative Claims, Priority Tax Claims
and Bankruptcy Fees are not classified. The Plan also provides that expenses incurred by
the Debtor during the Chapter 11 Case will be paid in full (or as may otherwise be agreed by
any party) and specifies the manner in which holders of Allowed Claims in each Class will be
treated. If there is any discrepancy between this description of the Plan’s treatment of

Creditors and that set forth in the Plan, the terms of the Plan are controlling.

 

 

 

 

 

 

CLASS CLAIM STATUS VOTING

Class I Secured Priority Tax | Impaired Entitled to Vote
Claims

Class II Priority Tax Claims Impaired Entitled to Vote

Class TV General Unsecured Impaired Entitled to Vote

Class V General Unsecured Impaired Entitled to Vote
Disputed

 

 

 

 

8. Unclassified Claims
a. Administrative Claims
Administrative claims consist of the Debtor’s duly retained professionals and any
other administrative expenses allowed under Section 503 of the Bankruptcy Code.
Administrative Claims will include the fees and expenses of the Debtor’s Counsel, Alla
Kachan, Esq., in the approximate amount of $3,000.00 (through confirmation, exclusive of the
pre-petition retainer received prior to the Petition Date in the amount of $12,000.00 from the
Debtor).
Wisdom Professional Services Inc. asserts a claim for the fees and expenses as accountants
for the Debtor, in the approximate amount of $5,000.00 (through confirmation, exclusive of

the pre-petition retainer received prior to the Petition Date in the amount of $1,000.00 from the

 
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Debtor ).

Internal Revenue Service assets an administrative claim in the approximate amount of
$1,365.98,

New York State department of taxation and Finance assets an administrative claim in
the approximate amount of $18,191.77.

New York State Department of Labor assets an administrative claim in the approximate
amount of $24, 314.71.

The claims of Debtor’s professionals shall be subject to final fees applications pursuant
to Bankruptcy Code Section 330 and orders of the Court approving the fees and expenses as
sought by this application. The Debtor estimates that the total administrative fees paid to
professionals will equal to $ 51,872.46. The Debtor is currently engaging in negotiating with all
agencies aserting an administrative claim in order to secure a repayment plan of the claims.

In order to confirm the Plan, it is necessary for the Debtor to satisfy the
Administrative Claims in full at or before Confirmation or have the holder of each
Administrative Claim agree to a different treatment.

b. Priority Claims

Allowed Priority Tax claims devided in the following Classes:

Class I - Secured Priority Tax Claims:

(i) Secured priority claim of New York State Department of Taxation and Finance in
the amount of $268,288.98 comprising base taxes and accumulated interest shall be paid in full
within sixty (60) months of the Confirmation Date or have the holder of the Priority Claim agree
to a different treatment, together with 6% rate of interest compounded daily in equal monthly

installments of $5,186.78. Please see Exhibit D — 60 month schedule of payments with interest
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calculations;

(ii) Secured priority claim of Internal Revenue Service in the amount of $100,000.00
comprising base taxes and accumulated interest shall be paid in full within sixty (60) months of
the Confirmation Date or have the holder of the Priority Claim agree to a different treatment,
together with Federal short term interest rate 3% plus 3 percentage points, totaling a 6% rate of
interest compounded daily rate of interest in equal monthly installments of $1,933.28. Please see
Exhibit E — 60 month schedule of payments with interest calculations;

The class I creditors are impaired and are entitled to vote on the Plan.

Class II - Unsecured Priority Tax Claims:

(1) Unsecured Priority claim of the New York State Department of Taxation and
Finance in the amount of $ 55,439.96 comprising base taxes and accumulated interest shall be
paid in full within sixty (60) months of the Confirmation Date or have the holder of the Priority
Claim agree to a different treatment, together with a 6% rate of interest compounded daily in
equal monthly installments of $ 1,071.81. Please see Exhibit F — 60 month schedule of payments
with interest calculations.

(ii) Unsecured Priority claim of Internal Revenue Service in the amount of $
249,238.91 comprising base taxes and accumulated interest shall be paid in full within sixty (60)
months of the Confirmation Date or have the holder of the Priority Claim agree to a different
treatment, together with Federal short term interest rate 3% plus 3 percentage points, totaling a
6% rate of interest compounded daily in equal monthly installments of $4,816.55. Please see
Exhibit G -- 60 month schedule of payments interest calculations.

The class II creditors are impaired and are entitled to vote on the Plan.

Class DI - Unsecured Priority Tax Claims:
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{i) New York State Department of Labor with a priority claim in the amount of $
31,034.43 shall be paid in full within sixty (60) months of the Confirmation Date in equal
monthly installments of $ 517.24;

(ii) NYC Department of Finance with priority claim in the amount of $7,774.88 shall
be paid in full within sixty (60) months of the Confirmation Date in equal monthly installments of
$129.58,

Class II] Claims are unimpaired and not entitled to vote pursuant to §1124 of the
Bankruptcy Code.

c. Statutory Bankruptcy Fee

All Bankruptcy fees and charges assessed against the Debtor under 28 U.S. § 1930(a)(6)
payable to the United States Trustee shall be paid in cash by the Effective Date, with any
applicable interest thereon. Thereafter, such fees and any applicable interest shall continue to
be paid by the Debtor until Debtor’s case is closed by entry of a final decree, converted, or
dismissed.

The Debtor shall pay all United States Trustee quarterly fees under 28 U.S.C.
§1930(a)(6), plus interest due and payable under 31 U.S.C. § 3717 on all disbursements,
including Plan payments and disbursements in and outside the ordinary course of the Debtor’s
affairs, until the entry of a Final Decree, dismissal of the Chapter 11 Case or conversion of the
Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code. Additionally, the Debtor
shall file quarterly Post Confirmation Reports and schedule quarterly post-confirmation status
conferences with the Court.

d. General Unsecured Claim

Class IV- (Unsecured Claim) - Class IV consists of the claims of general unsecured
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creditors in the Debtor’s case totaling approximately $ 454,943.62.

The Debtor proposes to pay the Unsecured Creditors ten percent (10%) dividend of their
allowed claims in sixty (60) equal monthly installments effective thirty (30) days after the
Effective Date of this Plan. The class [V creditors are impaired and are entitled to vote on the

Plan,
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Aggregate
Members of Class [TV Dollar Plan Treatment of Class IV

Amount of

Claims in
Arrow Linen Supply Oe Aes
Company Inc $7,049.22 10% dividend in 60 monthly installment payments
Badlor Specialty Foods $5,539.08 10% dividend in 60 monthly installment payments
Brooklyn Nets, LLC 513,500.00 106% dividend in 60 monthly installment payments
Chief Fire Protection $257.89 10% dividend in 60 monthly installment payments
D’ Artagnan $2,164.88 10% dividend in 60 monthly installment payments

Endicott Meats

Fang Reality Inc., pre-
petition rent arrears
Go Fresh Produce
Internal Revenue
Service, Penalties
accessed

National Grid

NYC Office of
Administrative Trials &
Hearing

NYS Department of
Taxation and Finance,
Penalties accessed

$8,023.93 10% dividend in 60 monthly installment payments
$182,712.92 10% dividend in 60 monthly installment payments

$1,234.65 10% dividend in 60 monthly installment payments
$98,085.49 10% dividend in 60 monthly installment payments
$6,608.07 10% dividend in 60 monthly installment payments

$6,536.36 10% dividend in 60 monthly installment payments

$100,862.61 10% dividend in 60 monthly installment payments

Paper Enterprises $1,358.43 10% dividend in 60 monthly installment payments
5 is &
amucis & Son $2,855.10 10% dividend. in 60 monthly installment payments

Seafood, Co

Sysco Long Island, LLC $6,145.15 10% dividend in 60 monthly installment payments

Two Cousins Fish
Market, Inc.

The Brooklyn Union
Gas Compaty

Satur Farms, LLC

$5,501.55 10% dividend in 60 monthly installment payments
$2,495.54 10% dividend in 60 monthly installment payments

$3,087.75 10% dividend in 60 monthly installment payments

Wesco Insurance
Company
Total: $454,943 62

$925.00 10% dividend in 60 monthly installment payments

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10% Monthly
Divident payment
$704.92 $11.75
$553.91 $9.23
$1,350.00 $22.50
$25.79 $0.43
$216.49 $3.61
$802.39 $13.37
$18,271.29 $304.52
$123.47 $2.06
$9,808.35

$163.48
$660.81 $11.01
$653.64

$10.89

$10,086.26

$168.10
$135.84 $2.26
$285.51 $4.76
3614.52 $10.94
$550.16 $9.17
$249.55 $4.16
5308.78 $5.15
392.50 81.54

$45,494.36 $758.24
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e. Disputed General Unsecured Claim
Class V- (Unsecured Claim) - Class. V consists of the claims of disputed general
unsecured creditors in the Debtor’s case totaling approximately $603,597.84.
The Debtor proposes to pay the Disputed Unsecured Creditors ten percent (10%) dividend
of their allowed claims in sixty (60) equal monthly installments effective thirty (30) days after
the Effective Date of this Plan. The class V creditors are impaired and are entitled to vote on the

Plan.
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Members of Class V

A. Sterm Meat Product
ACE Endico Corp.

All in one entertainment

Amy’s Bread
Aramark Uniform
pervices

Bank Direct Capital
Finance

Bartlett Dairy , Inc.

Bein Cuit

Borax Paper Products ,
Inc

Brooklyn Brewery
Capital One
CCAuthitiz Paisanos
Prov

Dairyland USA Corp.
DeBragga&Spitler inc.
Domaine Select
Merchants

Dutch Girl Cheese
Ecolab

Endicott Meats
Environmertal Control
Boa

FedEx

Fossil Farms

Integrity Payment
System

Intellig Roasting & Tea
ISG Capital, INC
Kingston Check
Cashing Co

Lobster Place
Magnifique Cleaninig
Ser

Merchants Capital
Access

Merchants Capital
Access

Michael Skurmk Wines

Aggregate
Dollar
Amount of
Claims in

Pian Treatment of Class V

$4,397.70 10% dividend in 60 monthly installment payments
5805.00 10% dividend in 60 monthly installment payments
5310.56 10% dividend in 60 monthly installment payments

$13,162.27 16% dividend in 60 monthly installment payments

$8,441.58 10% dividendin 60 monthly installment payments

$313.05 10% dividend in 60 monthly installment payments
$1,072.10 10% dividend in 60 monthly installment payments

$3,110.44 10% dividend in 60 monthly installment payments

$237.93 10% dividend in 60 monthly installment payments
$2,361.41 10% dividend in 60 monthly installment payments

$13,229.60 10% dividend in 60 monthly installment payments
$14,528.78 10% dividend in 60 monthly installment payments

$6,053.61 10% dividend in 60 monthly installment payments

$698.12 10% dividendin 60 monthly installment payments
$3,196.80 10% dividend in 60 monthly installment payments
$8,023.93 10% dividend in 60 monthly installment payments

$2,000.00 10% dividend in 60 monthly installment payments

$673.06 10% dividend in 60 monthly installment payments
$771.74 10% dividend in 60 monthly installment payments

$1,635.39 10% dividend in 60 monthly instailment payments
$245,000.00 10% dividend in 60 monthly instailment payments

$961.78 10% dividend in 60 monthly installment payments
$7,072.13 10% dividend in 60 monthly installment payments

$1,306.54 10% dividend in 60 monthly instailment payments

$150,000.00 10% dividend in 60 monthly installment payments
$2,860.00 10% dividend in 60 monthly installment paymenis

10%
Divident

$439.77
$80.50
$31.06

$1,316.23

$844.16

$31.31
$107.21

$311.04

$23.79
$236.14

50.00
$1,322.96
$1,452.88
$605.36

569.81
$319.68
$802.39

$200.00

$67.31
$77.17

$0.60

$163.54
$24,500.00

$96.18
$707.21
$130.65

$0.00

$15,000.00
$286.00

Monthly
payment

$7.33

$1.34
$0.52

$21.94

$14.07
$0.52
$1.79
$5.18
$0.40
$3.94
$0.00
$22.05
$24.21

$10.09
$1.16
$5.33
$13.37

$3.33
$1.12
$1.29
$0.00
$2.73
$408.33

$1.60
$11.79

$2.18
$0.00

$250.00
$4.77
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MHW LTD

M. Tucker
Network Services
Company

NY City Health
Deptmnt

On Hold Marketing
Opici Wine Group
Paisanos Provisions

Perfomance Foodservice

Piccinint Brothers, Inc.
Pipe Dream.

Priority Payment
System

Sea Creast Linen

Sid Wainer & Son
Super PC System, Ine

Sysco Long Island, LLC

The Cousins Fish
Market

The Lobster Place, Inc.

The Pay-O-Matic Corp.

Tom Cat Bakery, Inc.
TransFirst

USA Wine Imports
Verizon

Warwick Valley Wine
Western Pest Services
Winebow

Total:

$1,553.52 10% dividend in 60 monthly installment payments
$416.91 10% dividend in 60 monthly installment payments

$1,345.45 10% dividend in 60 monthly installment payments

$1,120.00 10% dividend in 60 monthly installment payments

$1,199.25 10% dividend in 60 monthly installment payments
$1,780.78 16% dividend in 60 monthly installment payments
$792.39 10% dividend in 60 monthly installment payments

$7,000.00 10% dividend in 60 monthly installment payments

$5,899.93 10% dividend in 60 monthly installment payments
-$517.14 10% dividend in 60 monthly installment payments

$50,000.00 10% dividend in 60 monthly installment payments

$2,938.33 10% dividend in 60 monthly installment payments
$5,877.34 10% dividend in 60 monthly installment payments

$6,145.15 10% dividend in 60 monthly installment payments

$5,616.84 10% dividend in 60 monthly installment payments

$5,291.00 10% dividend in 60 monthly installment paymenis

$806.00 10% dividend in 60 monthly installment payments
$8,900.00 10% dividend in 66 monthly installment payments

$1,232.02 10% dividend in 60 monthly installment payments
$556.37 10% dividend in 60 monthly installment payments
$180.00 10% dividendin 60 monthly installment payments
$591.47 10% dividend in 60 monthly installment payments

$1,620.38 10% dividend in 60 monthly installment payments

$603,597.84

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$155.35
$41.69

$134.55

$112.00

$119.93
$178.08
$79.24

$700.00

$590.00
$51.71

$5,000.00

5293.83
$587.73
50.00

$614.52

$561.68

$529.10

$80.00

$890.00
$0.00
$123.20
$55.64
$18.00
$59.15
$162.04
$60,359.78

$2.59
$0.69

$2.24

$1.87
$2.00
$2.97
$1.32

$11.67
$9.83
$0.86

$33.33
$4.90
$9.80
$0.00

$10.24

$9.36
$8.82

$1.33
$14.83
$0.00
$2.05
$0.93
$0.30
$0.99
$2.70
$1,006.00
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f. Akiva Ofshtein, the Class VI interest holder, shall retain his interest in the Debtor
following Confirmation in consideration of the new value contribution being made by him as the
equity holder toward the payment of general unsecured creditor claims. The new value
contribution shall consist of monthly supplementary payments by Mr. Ofshtein, toward the
Debtor’s plan payments, in the approximate sums between $4,000.00-6,000.00 monthly, Please
see as Exhibit “J” Mr. Ofshtein’ business operating bank account statement containing the
available funds.

Q. Classes Impaired Under The Plan

Under Section 1126 of the Bankruptcy Code, Classes of Claims which are
impaired are entitled to vote on a plan of reorganization. Under Section 1124 of the Code,
a Class of Claims is impaired unless the Plan, with respect to such Class:

(a) leaves unaltered the legal, equitable and contractual rights to which such Claim
or Interest entitles the holder of such Claim or Interest; or

(b) reinstates a previously accelerated Claim or Interest by which (a) curing any
prepetition defaults (other than a default under Section 365(b)(2) of the Code, (b) reinstating
the maturity of such Claim or Interest as it existed result of reliance on a contractual
acceleration provisions or similar applicable law, and (c) not otherwise altering the legal,
equitable or contractual rights to which such Claim or Interest entitle the holders of such
Claim or Interest; or

(c) provides on the Effective Date that (a) with respect to a class of Claims, the
holders of such Claims receive Cash equal to the allowed amount of their Claims; and (b) with
respect to a class of Interests, the holders of such Interests receive the greater of any fixed

liquidation preference that they are entitled to under any security, or any fixed price at which
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the debtor may redeem such security pursuant to the terms of such security.
Class I, Ul, 1V and V is impaired under the Plan and entitled to vote. Administrative
Claims are not impaired under the Plan and are not entitled to vote.
I. MEANS OF IMPLEMENTING THE PLAN
a. Source of payment
Payments and distributions under the Plan will be funded by the following:

By continued operation and increased earnings of Prime Six. Inc. Please see Exhibit

“I, Projected 5 year Profit and Loss Statement.

J. CURRENT BALANCE SHEET AND STATEMENTS OF OPERATION
1. Balance Sheet |
Annexed hereto as Exhibit “H” is a copy of Debtor’s balance sheet as of April 30, |
2016. |
K, CLAIMS OBJECTIONS
The Debtor is currently reviewing its books and records to evaluate which, if any,
claims shall be made the subject of an objection.
L. ABSOLUTE PRIORITY RULE
With certain exceptions, one of the requirements for confirmation is that a plan not
provide for any payments to a junior class unless all superior classes are paid in full. Since
general unsecured creditors are superior to the Debtor, the Debtor may not retain their interests,
unless one of three situations occur:
1. The plan provides for full payment to general unsecured creditors; or
2. The stockholders seeking to retain their equity interests contribute “money or '

money’s worth” in the form of needed capital to the reorganized debtor reasonably
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equivalent in value to that of the equity interest sought to be retained; or

3, The class of unsecured creditors waive their rights by consenting to the plan as
proposed. In the present case, the unsecured creditors are expected to consent to the Plan as
proposed, and therefore, the Debtor does not anticipate seeking a “cram down” of the claims of
unsecured creditors. The Debtor expects the class of unsecured creditors to vote in favor of the
Plan as the Plan establishes a set amount to be paid with regularity toward the payment of
the creditors’ claims that is tenable in light of the Debtors priority and post-petition
obligations.

M. TAX CONSEQUENCES OF THE PLAN

THE FOLLOWING DISCUSSION IS A SUMMARY OF CERTAIN SELECTED
SIGNIFICANT FEDERAL INCOME TAX CONSEQUENCES BUT NOT STATE, LOCAL
OR FOREIGN TAX CONSEQUENCES, OF THE PLAN TO THE DEBTOR, HOLDERS OF
CLAIM AND INTERESTS. THESE TAX CONSEQUENCES MAY BE AFFECTED BY
SUCH FACTORS AS CHANGES IN THE STRUCTURE OF THE DEBTOR FROM THAT
DESCRIBED HEREIN. THE FEDERAL INCOME TAX CONSEQUENCES TO HOLDERS
MAY VARY SIGNIFICANTLY DEPENDING ON THE INDIVIDUAL CIRCUMSTANCES
~ OF EACH HOLDER. MOREOVER, THE FEDERAL INCOME TAX CONSEQUENCES OF
CERTAIN ASPECTS OF THE PLAN ARE UNCERTAIN BECAUSE OF THE LACK OF
APPLICABLE LEGAL PRECEDENT AND THE POSSIBILITY OF CHANGES IN
FEDERAL INCOME TAX LAWS. ACCORDINGLY, EACH HOLDER OF AN ALLOWED
CLAIM OR INTEREST IS STRONGLY ADVISED TO CONSULT WITH SUCH
HOLDER’S OWN TAX ADVISOR REGARDING THE FEDERAL, STATE, LOCAL AND

FOREIGN TAX CONSEQUENCES OF THE PLAN.
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in general, the federal income tax consequences to the Debtor and to each holder of an
Allowed Claim will depend on numerous factors. These factors include but are not limited to

the following:

A. The identity and status of the particular Claimant for federal income tax
purposes;
B. The financial status of the Claimant and the Debtor, including the amount and

character of any current tax attributes and tax attribute carryovers or carrybacks of the Claimant
and/or the Debtor;

C. The nature (recourse or nonrecourse) and terms of the debt instrument(s) to
be restructured including the allocation of payments between principal and accrued but unpaid
interest;

D. The accounting method of the Claimant;

E, The relationship, if any, between the Debtor and Claimants;

F, The residency, alienage or place of legal incorporation or formation (foreign or
U.S.) of the Claimant and/or the persons owning beneficial equity interests in the Claimant.

G. The type or method of debt restructure adopted by the Debtor and Claimant
and the timing of such debt restructure. The application of the factors to each Claimant will
depend on the Clatmant’s individual facts and circumstances. In addition the federal income
tax consequences to the Debtor and Claimants may depend on events which occur several years
after the Plan is implemented.

THE DEBTOR’S LEGAL COUNSEL DOES NOT HAVE SUFFICIENT
INFORMATION TO DETERMINE ALL OF THE SPECIFIC FEDERAL INCOME

TAX CONSEQUENCES TO EACH OF THE CLAIMANTS RESULTING FROM THE

 
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PLAN. ACCORDINGLY, EACH HOLDER OF A CLAIM IS STRONGLY ADVISED TO
CONSULT WITH SUCH HOLDER’S OWN TAX ADVISOR REGARDING THE
FEDERAL, STATE, LOCAL AND FOREIGN TAX CONSEQUENCES OF THE PLAN,
NO RULINGS HAVE BEEN OR ARE EXPECTED TO BE REQUESTED
FROM THE INTERNAL REVENUE SERVICE OR ANY STATE TAX AGENCY
CONCERNING ANY OF THE TAX MATTERS DESCRIBED HEREIN. THERE CAN
BE NO ASSURANCE THAT THE IRS OR ANY STATE TAX AGENCY WILL NOT
CHALLENGE THE POSITIONS TAKEN BY THE DEBTOR WITH RESPECT TO
ANY OF THE ISSUES ADDRESSED HEREIN OR THAT A COURT OF

COMPETENT JURISDICTION WOULD NOT SUSTAIN SUCH A CHALLENGE,

N. TAX CONSEQUENCES TO ALLOWED CLAIMANTS
The federal income tax consequences with respect to payments of cash to Allowed
Claimants in partial or full satisfaction of debt, or pursuant to a tax free recapitalization or other
restructuring, depend on the allocation of such payments to principal and interest owed on the

debt. The allocation of payments between interest and principal may affect:

a. the existence and timing of recognition of interest income by a cash basis
Claimant;
b. the existence and timing of interest deductions on a cash basis (and sometimes to

an accrual basis) Debtor;
c, the amount (and possibly the character) of worthless debt loss recognized by
the Claimants;

d, the amount of cancellation of indebtedness income recognized by the Debtor;
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€. the amount of gain or loss recognized by the Claimant pursuant to a
recapitalization under Internal Revenue Code § 368(a)(1)(E).

An Allowed Claimant will recognize ordinary income to the extent that any stock, debt
securities, other premises, or cash received is attributable to interest (including original issue
discount) which has accrued while the Claimant held the debt and which the Claimant
previously included in income, exceeds the fair market value of stock, debt and cash received
by the Claimant which is attributable to such accrued interest (including OID).

In addition, such Claimants will realize gain on such amount equal to the excess of the
fair market value of stock, debt, other premises and cash received (excluding amounts
attributable to interest and discussed above) over the cost or other tax basis of the debt claims
surrendered (excluding any tax basis allocated to accrued interest). The gain may be a capital
gain or ordinary gain unless the exchange has the effect of the distribution of a dividend under
Internal Revenue Code § 305 (discussed below) in which case gain recognized that is not
in excess of earning and profits of the Debtor will be treated as a dividend. A corporate
Claimant who receives a dividend may qualify for a dividend received deduction with respect
to the dividend.

The rules regarding taxation of payments to Claimants which are attributable to other
accrued but unpaid income items (e.g., rents, compensation, royalties, dividends, etc.) are
similar to the rules described above for payments allocated to interest.

- Importance of obtaining professional Tax Assistance.

THE FOREGOING IS INTENDED TO BE ONLY A SUMMARY OF SELECTED
FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN, AND IS NOT A

SUBSTITUTE FOR CAREFUL TAX PLANNING WITH, AND RECEIPT OF ADVICE
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FROM, A TAX PROFESSIONAL.

THE FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN THAT ARE
DESCRIBED HEREIN AND THE STATE, LOCAL AND FOREIGN TAX
CONSEQUENCES OF THE PLAN THAT ARE NOT ADDRESSED HEREIN, ARE
COMPLEX AND, IN SOME CASES, UNCERTAIN. SUCH CONSEQUENCES MAY
ALSO VARY BASED ON THE INDIVIDUAL CIRCUMSTANCES OF EACH
HOLDER OF A CLAIM. ACCORDINGLY, EACH CLAIMANT AND EQUITY
HOLDER IS STRONGLY URGED TO CONSULT WITH ITS OWN TAX ADVISOR
REGARDING THE FEDERAL, STATE, LOCAL AND FOREIGN TAX

CONSEQUENCES OF THE PLAN.

O. MAINTENANCE OF EMPLOYEE BENEFIT PLANS

The Debtor does not maintain any employee benefit plans.

P, ACCOUNTING PROCESS
The financial information contained in this Disclosure Statement was derived from the

Petition, Schedules and monthly operating reports filed by the Debtor in this case.

Q. POST-PETITION ASSETS AND LIABILITIES
The Debtor has not accrued significant assets or liabilities except as otherwise set forth
herein.
R. EXECUTORY CONTRACTS

Unless the Confirmation Order shall otherwise provide, or the Debtor shall have filed a
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motion to reject any executory contracts on the Effective Date, the Debtor will assume all
executory contracts which have not otherwise expired by their own terms. A proof of claim for
any claim arising from the rejection of an executory contract shall be filed within thirty (30)
days subsequent to the date that an order is entered rejecting the executory contract and the
claim arising from the rejection of an executor contract for which a proof of claim is not filed

within such time period shall be disallowed in its entirety and forever barred.

Ss. RETENTION OF JURISDICTION

Following Confirmation, the Bankruptcy Court shall retain such jurisdiction as is legally
permissible, including, without limitation, for the following purposes: (i) to determine the

allowability, classification, or priority of Claims;
(i) to construe and to take any action to enforce and execute the Plan, the Confirmation
Order, or any other order of the Bankruptcy Court; (ii) to issue such orders as may be
necessary for the implementation, execution, performance, and consummation of the Plan;
(iii) to determine any and all applications for allowance of compensation and expense
reimbursement of Professional Persons; (iv) to determine any other request for payment of
Administrative Claims; (v) to determine all applications, motions, adversary proceedings,
contested matters, claim objections, and any other litigated matters instituted prior to the
closing of the Reorganization Case, including litigation commenced to set aside or avoid
any transfers pursuant to Bankruptcy Code Sections 544, 545, 547, 548, 549, 550 and
553; (vi) to modify the Plan under Bankruptcy Code Section 1127, to remedy any defect or
omission in the Plan, or to reconcile any inconsistency in the Plan, or to reconcile any

inconsistency in the Plan so as to carry out its intent and purposes.
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T. DISTRIBUTIONS UNDER THE PLAN
General Matters Concerning the Distribution of Consideration
1. The Disbursing Agent(s)
The Debtor shall act as Disbursing Agent(s) under the Plan with respect to all creditors.
2. Cash Payments
Cash payments made pursuant to the Plan wiil be in U.S. dollars by checks drawn on a
banking institution that is an authorized depository in the Southern District of New York
selected by the Debtor, or by wire transfer from a banking institution that is an authorized
depository in the Southern District of New York, at the option of the Debtor.
3. Transmittal of Distributions
All distributions shall be deemed made at the time such distribution is deposited in
the United States mail, postage prepaid or, in case of wire transfers, upon receiving
confirmation from the transferring bank. Except as otherwise agreed with the holder of an
Allowed Claim, such distribution shall be distributed by mail to (i) the address listed by such
holder for receiving distributions in its Proof of Claim or (ii), if no Proof of Claim was
filed, the mailing address reflected upon the filed Schedules of Assets and Liabilities or in the
Debtor’s books and records for such holder.
4, Undeliverable Distributions
If any distribution is returned to a Disbursing Agent as undeliverable, no further
distributions shall be made to the holder of the Allowed Claim or Allowed Interest on which
such distribution was made unless and until the Debtor are notified in writing of such

holder’s then-current address. Undeliverable distributions shall remain in the possession of
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the Debtor, until such time as a distribution becomes deliverable or is deemed canceled (as
hereinafter provided). Any unclaimed distribution shall be accounted for separately, but there
shall be no duty to invest any such unclaimed distribution in any manner. Any holder of an
Allowed Claim or Allowed Interest that does not present a Claim for an undeliverable
distribution within one hundred and eighty (180) days after the date upon which a distribution
is first made available to such holder shall have its right to such distribution discharged. In such
event the subject claimant shall be forever barred from asserting any such Claim against
the Debtor or its property. All unclaimed or undistributed distributions shall, pursuant to
Bankruptcy Code Section 347(b), be the property of the Debtor and shall be treated as

determined by the Debtor in its sole and absolute discretion.

U. PROCEDURES FOR RESOLVING DISPUTED CLAIMS

a. Time Limit for Objections to Claims

Objections to Claims shall be filed by the Debtor with the Court and served upon each
Holder of each of the Claims to which objections are made, not later than sixty (60) days
subsequent to the Confirmation Date or with such other time period as may be fixed by the
Court.

b. Resolution of Disputed Claims

Unless otherwise ordered by the Court, the Debtor shall litigate to judgment, settle or
withdraw objections to Disputed Claims, in its sole discretions, without notice to any party in
interest.

Notwithstanding any other provision of the Plan, no Distributions shall be made with

respect to all or any portion of a Disputed Claim unless and until all objections to the Disputed
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Claim have been settled or withdrawn or have been determined by Final Order, and the
Disputed Claim, or some portion thereof, has become an Allowed Claim. To the extent that
a Claim is not a Disputed Claim but is held by a Holder that is or may be liable to the Debtor
on account of a Cause of Action, no Distributions shall be made with respect to all or any
portion of such Claim unless and until such Claim and liability have been settled or withdrawn
or have been determined by Final Order of the Bankruptcy Court or such other court having
jurisdiction over the matter.

c. Distributions upon Disputed Claims that Become Allowed Claims.

Distributions to holders of Disputed Claims that subsequently become Allowed Claims
will be paid by the Debtor no later than the later to occur of (i) sixty (60) days after the
Disputed Claim becomes an Allowed Claim; and (ii) Debtor’s making other distributions
under the Plan to hoiders of Allowed Claims.

d. Estimation.

The Debtor may, at any time, request that the Bankruptcy Court estimate any
contingent, unliquidated, or Disputed Claim pursuant to section 502(c}) of the Bankruptcy
Code regardless of whether the Debtor previously objected to such Claim. The Bankruptcy
Court shall retain jurisdiction to estimate any Claim at any time during litigation concerning
any objection to any Claim, including, without limitation, during the pendency of any appeal
relating to any such objection. In the event that the Bankruptcy Court estimates any contingent,
unliquidated, or Disputed Claim, the amount so estimated shall constitute either the Allowed
amount of such Claim or a maximum limitation on such Claim, as determined by the
Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the amount

of such Claim, the Debtor may pursue supplementary proceedings to object to the allowance
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of such Claim. All of the aforementioned objection, estimation, and resolution procedures are
intended to be cumulative and not exclusive of one another. On and after the Effective Date,
Claims that have been estimated may be compromised, settled, withdrawn, or otherwise

resolved subsequently, without further order of the Bankruptcy Court.

Vv. LEGAL EFFECTS OF CONFIRMATION AND EFFECTIVENESS OF THE
PLAN

a. Discharge of the Debtor

Pursuant to Section 1141(d)(5) of the Bankruptcy Code on the Effective Date, the
Debtor will be discharged from any claim that arose prior to petition date whether or not the
Holder of the Clam has accepted the Plan, except that the debtor may, by separate motion and
after notice and a hearing seek discharge for cause. Pursuant to Section 1141(d)(2) of the
Bankruptcy Code, the Debtor will not be discharged from any debt excepted from discharge
under section 523 of this title.

b. Injunction

Except as otherwise provided in the Plan, the Confirmation Order shall provide,
among other things, that from and after the Effective Date all Persons who have held, hold or
may hold Claims against the Debtor are permanently enjoined from taking any of the
following actions against the Debtor, its Estate, or any of their property on account of any
such Claims: (1) commencing or continuing, in any manner or in any place, any action or
other proceeding; (2) enforcing, attaching, collecting or recovering in any manner, any
judgment, award, decree or order; (3) creating, perfecting or enforcing any lien or

encumbrance; (4) asserting a setoff, right of subrogation or recoupment of any kind against
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any debt, liability or obligation due to the Debtor unless authorized under the Plan; (5)
commencing or continuing, in any manner or in any place, any action that does not comply
with or is inconsistent with the provisions of the Plan; provided, however, that nothing
contained in the Plan shall preclude such Persons from exercising their rights pursuant to an
d consistent with the terms of the Plan or the Confirmation Order.

c. Limitation of Liability

To the extent permitted by Section 1125(e) of the Bankruptcy Code, except as otherwise
provided in the Plan, the Debtor and its Professionals and any of such parties’ successors and
assigns, shall not have or incur any claim, action, proceeding, Cause of Action, suit, account,
controversy, agreement, promise, right to legal remedies, right to equitable remedies, right to
payment or Claim (as defined) in Section 101(4) of the Bankruptcy Code), whether known,
unknown, reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed,
contingent, matured, unmatured, disputed, undisputed, secured or unsecured and whether
assetted or assertable directly or derivatively, in law equity or otherwise to one another or to
any Holder of a Claim, or any other party in interest, or any of their respective agents,
employees, representatives, financial advisors, attorneys, or any of their successors or assigns,
for any act or omission originating or occurring on or after the Petition Date through and
including the Effective Date in connection with, relating to, or arising out of the Debtor, the
Chapter 11 Case, negotiation and filing of the Plan or any prior plans, filing Chapter 11 Case, the
pursuit of confirmation of the Plan or any prior plans, the consummation of the Plan, the
administration of the Plan or the property to be liquidated other than resulting from and/or gross
negligence as determined by a Final Order of a court of competent jurisdiction, and in all

respects shall be entitled to reasonably rely upon the advice of counsel with respect to their
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duties and responsibilities under the Plan. Nothing herein shall abrogate the requirements of
any applicable professional disciplinary rules.

d. Terms of Bankruptcy Injunction or Stays

All injunctions or stays provided for in the Chapter 11 Case under Sections 105 or 362
of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall
remain in full force and effect until the Effective Date unless otherwise provided in this Plan.

Upon the Effective Date, the injunction provided in Article XI(D) shall apply.

W. MODIFICATION AND AMENDMENT OF THE PLAN

The Debtor may alter, amend or modify the Plan or any Exhibits under Section
1127({a) of the Bankruptcy code at any time prior to the Confirmation Date. After the
Confirmation Date and prior to substantial consummation of the Plan as defined in Section
1101(2) of the Bankruptcy Code, the Debtor may, under Section 1127(b) of the Bankruptcy
Code, institute proceedings in the Bankruptcy Court to remedy any defect or omission or
reconcile any inconsistencies in the Plan, the Disclosure Statement or the Confirmation Order,
and such matters as may be necessary to carry out the purpose and effect of the Plan so long as
such proceedings do not adversely affect the treatment of Holders of Claims under the Plan;
provided, however, that prior notice of such proceedings shall be served in accordance with the

Bankruptcy Rules or order of the Bankruptcy Court.

X. EVENT OF DEFAULT
The Debtor shall be deemed in default if it fails to make timely payments to any creditors

as provided for in the Plan and the Debtor and each creditor shall abide by the following:
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1. Upon written receipt from any creditor of notice of default relating to payments,
the Debtor shall have a period of thirty (30) days from receipt of such notice to cure such
default, during such 30-day period, the creditors shall take no action to terminate the Debtor’s
Plan. If such default is cured by the Debtor within the 30-day period, the Plan shall continue in
fuli force and effect. Any notices of default under the Plan shall be served upon the Debtor
and Debtor’s attorney.

2. If full payment of the default amount is not paid by the Debtor within thirty
(30) days of such demand, the Internal Revenue Service, New York State Department of
Taxation and Finance and New York City Department of Taxation and Finance may collect
any unpaid liabilities through governing administrative collection provisions, and the
automatic stay of 11 U.S.C. §363(a) is lifted for this purpose without further order of the
court.

3, If Debtor fails to make any post-confirmation depostts, fails to pay any post-
confirmation tax liability, default in the payments to the class of unsecured creditors or fails to
file post-confirmation tax returns by the due date of the tax return, then after 5-days written
notice of default to Debtor and Debtor’s counsel and Debtor’s failure to cure, the United
States and/or the New York State Department of Taxation and Finance may declare a default
of the Plan.

4, if full payment is not made within thirty G0) days of demand, then the
Intermal Revenue Service may collect the entire imposed liability, together with any unpaid
current abilities, plus accruals, shall become due and payable tmmediately, through the
administrative collection provisions of the Internal Revenue Code, and the automatic stay

of 11 USC 362(a) is lifted for this purpose without further order of the Court.
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Y. FINAL DECREE
Pursuant to Local Bankruptcy Rule 3022-1, within fifteen (15) days following the
substantial administration of the estate, the Debtor or the Reorganized Debtor shall file, on

notice to the United States Trustee, an application and a proposed order for a final decree

closing this case.

CONCLUSION
The Debtor believes that the Plan affords Creditors the potential for repayment and,
therefore, is in the best interest of the Creditors. The only other alternative is conversion to
chapter 7 wherein a trustee would be appointed to liquidate Debtor’s remaining assets for
distribution. Accordingly, the Debtor urges all Creditors to cast their ballots in favor of
accepting the Plan. The Debtor shall be required to file quarterly post-confirmation status reports

until the case is closed, converted, or dismissed, whichever happens earlier.

Dated: Brooklyn, New York /s/ Alla Kachan
July 22, 2016 Alla Kachan, Esq.
Law Offices of Alla Kachan, P.C.
3099 Coney Island Avenue, 3™ Floor
Brooklyn, NY 11235

Dated: Brooklyn, NY Debtor and Debtor-in-Possession By:
July 22, 2016 /s/ Akiva Ofshtein

The president of Prime Six, Inc.
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EXHIBIT A
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

IN RE: CHAPTER 11

PRIME SIX, INC., CASE NO.: 1-15-42334-CEC

DEBTOR.

 

THIRD AMENDED CHAPTER 11 PLAN

 

ALLA KACHAN, ESQ.
Attorney for Debtor, Prime Six, Inc.

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Tel: (718) 513-3145
Fax: (347) 342-315

E-mail: alla@kachanlaw.com
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PLAN OF REORGANIZATION

The Debtor, by and through its attorney, Alla Kachan pursuant to 11 U.S.C. $1121
et seq., proposes the following third amended Chapter 11 Plan.

Prime Six, Inc. (“Prime Six, Inc.”}, the above named captioned debtor and debtor-in~
possession (“Debtor”) hereby submits the following First amended Chapter 11 Plan of
Reorganization (the “Plan’) pursuant to the provisions of Chapter 11 of the Bankruptcy
Code. All Holders of Claims who are eligible to vote on the Plan are encouraged to read
the Plan and the accompanying Disclosure Statement including all exhibits before voting to
accept or reject the Plan. Subject to certain restrictions and requirements set forth in section
1127 of the Bankruptcy Code and Bankruptcy Rule 3019, the Debtor reserve the right to
alter, amend, modify, revoke, or withdraw this Plan prior to its substantial consummation.
The Debtor is the proponent of the Plan within the meaning of section 1129 of the
Bankruptcy Code.

Nothing contained herein shall constitute an offer, acceptance or legally binding
obligation of the Debtor or any other party in interest and the Plan is subject to approval of
the Bankruptcy court and other customary conditions.

ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN ARE
ENCOURAGED TO READ CAREFULLY THE DISCOLSURE STATEMENT
(INCLUDING ALL EXHIBITS) AND THE PLAN, EACH IN ITS ENTIRETY,
BEFORE VOTING TO ACCEPT OR REJECT THE PLAN,

ARTICLE I
DEFINED TERMS AND RULES OF INTERPRETATION

A, Rules of Construction
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For purposes of this Plan, except as expressly provided herein or unless the
context otherwise requires, all capitalized terms not otherwise defined shall have the meanings
ascribed to them in Article I of this Plan or any Exhibit. Any term used and not defined in
this Plan but is defined in the Bankruptcy Code of the Bankruptcy Rules shall have the
meaning ascribed to that term in the Bankruptcy Code or the Bankruptcy Rules, as applicable.
Whenever the context requires, such terms shall include the plural as well asthe singular
number, the masculine gender shall include the feminine, and the feminine gender shall
include the masculine.

B. ‘Definition

1.1 Administrative Claim means as Allowed Claim for costs and expenses of
administration of the Chapter 11 Case under section 503(b), 507(b) or 1114(e)(2) of the
Bankruptcy Code including: (a) any actual and necessary costs and expenses, incurred after
the Petition Date, of preserving the Estate and operating business and Claims of governmental
units for taxes (including tax audit Claims related to tax years commencing after the
Petition Date, but excluding Claims relating to tax periods, or portions thereof, ending on
or before the Petition Date); and (b) all other claims entitled to administrative claim status
pursuant to a Final Order of the Bankruptcy Court and including Profession Fee Claims.

1.2 Administrative Bar Date means the last day in which creditors and parties-
in-interest can file a proof of claim against the Debtor for administrative expenses.

13 Administrative Period means the period beginning on the Petition Date and
ending on the Confirmation Date.

14 Adversary Proceeding means any and all actions previously commenced, or to

be commenced, by the Debtor to recover money or property on behalf of the Debtor’s Estate.
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15 Allowed Claim means a Claim or any portion thereof (a) that has been allowed
by a Final Order of the Bankruptcy Court (or such court as the Debtor and the Holder of any
Claim agree may adjudicate the Claim and any objection thereto), (b) that either has been
Scheduled as a liquidated, non-contingent, and undisputed in an amount greater than zero on
the Scheduled, or, is the subject of a timely filed proof of claim as to which either (i) no
objection to its allowance has been Filed (either by way of objection or amendment to the
Schedules) within the periods of limitation fixed by the Bankruptcy Code or by any order of
the Bankruptcy Court or (ii) any objection to its allowance has been settled, waived through
payment, or withdrawn, or has been denied by a Final Order, or (c) that is expressly
Allowed in a liquidated amount in the Plan; provided, however, that with respect to an
Administrative Claim, “Allowed Claim” means an Administrative Claim as to which a timely
written request for payment has been made in accordance with applicable bar dates for such
requests set by the Bankruptcy Court (if such written request is required) in each case as to
which the Debtor, or any other party in interest has not interposed a timely objection or has
interposed a timely objection and such objection has been settled, waived through payment,
or withdrawn, or has been denied by a Final Order.

16 Avoidance Actions means Causes of Action arising under Bankruptcy Code
sections 502, 510, 541, 542, 544, 545, 547 through 551 and/or 553, or under related state
or federal statutes and common law, including, without limitation, fraudulent transfer laws,
whether or not litigation is commenced to prosecute such Causes of Action; provided,
however, that Avoidance Actions shall not be deemed to include those causes of action
released, waived and/or discharged pursuant to this Plan or an order of the Bankruptcy Court.

1.7. Ballot means each of the ballot forms distributed to each Holder of a
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Claim entitled to vote to accept or reject this Plan.

18 Bankruptey Code means title 11 of the United States Code, as now in effect
or hereafter amended and as applicable to the Chapter 11 Case.

1.9 Bankruptcy Court means the United States Bankruptcy Court for the Eastern
District of New York or any other court with jurisdiction over the Chapter 11 Case,

1.10 Bankruptey Rules means the Federal Rules of Bankruptcy Procedure and
the local rules of the Bankruptcy Court, as now in effect or hereinafter amended.

1.11 Bar Date means the last day in which creditors and parties-in-interest can file
a proof of claim against Debtor.

1.12 Cash means the legal tender of the United States of America and
equivalents thereof, which may be conveyed by check or wire transfer.

1.13 Chapter 11 Case means the case under chapter 11 of the Bankruptcy Code
commenced by the Debtor.

1.14 Claims means a “claim” as defined in section 101(5) of the Bankruptcy Code.

1.15 Claimant means the holder of a Claim.

1.16 Claims Objection Deadline means the last day for Filing objections to
Claims, other than Administrative Claims and Professional Fee Claims, which day shall be
(a) the later of (i) 60 days after the Effective Date and (ii) 60 days after the filing of a proof
of claim for, or request for payment of, such Claim and (b) such other date as the Bankruptcy
Court may order.

1.17 Class means a category of Holders of Claims, as described in Article ff.

1.18 Closing Date means the date that Debtor completes all Plan payments and a

final decree is entered by the Court.
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1.19 Confirmation means entry of a Final Order confirming the Plan in
accordance with Section 1129 of the Bankruptcy Code.

1.20 Confirmation Date means the date on which the Bankruptcy Court entered the
Confirmation Order.

1.21 Confirmation Hearing means the hearing held before the Bankruptcy Court
to consider confirmation of this Plan pursuant to Section 1128(a) and 1129 of the
Bankruptcy Code, as it may be adjourned or continued from time to time.

1.22 Confirmation Order means the order issued and entered confirming the
Plan, pursuant to Section 1129 of the Bankruptcy Code.

1.23 Consummation of the Plan means the period by which the Debtor
commence distribution under the Plan.

1.24 Creditor means all entities and/or individuals holding Claims against the
Debtor’s estate.

1.25 Cure Period means the period of thirty (30) days the Debtor has to cure
any default in payments required under the Plan after a Claimant provide written notice to
the Debtor and attorneys of the default.

1.26 Debtor means Prime Six, Inc.

1.27 Disallowed Claim means a Claim, or any portion thereof, that (a) has been
disallowed by the Final Order, (b) is scheduled at zero or as contingent, disputed or
unhiquidated and as to which no Proof of Claim has been filed by the Bar Date or deemed
timely filed with the Bankruptey Court pursuant to etther the Bankruptcy or any Final
Order, or otherwise deemed timely filed with the Bankruptcy Court pursuant to either the

Bankruptcy Code or any final Order or under applicable law, or (c) is not Scheduled, and
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as to which (i) no Proof of Claim has been filed by the Bar Date or deemed timely
filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order
or under applicable law, or (ii) no request for payment of an Administrative Claim has
been filed by the Administrative Claims Bar Date or deemed timely filed with the
Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order or under
applicable law.

1.28 Disbursing Agent means the Post-Confirmation Debtor.

1.29 Disclosure Statement means the Disclosure Statement filed pursuant to
Section 1125 of the Bankruptcy Code filed by the Debtor in connection with the
Reorganization Case, and all Exhibits in connection therewith and any documents delivered
in connection therewith, as the same may be amended from time to time by any duly
authorized amendments or modification.

1.30 Disputed Claim means a Claim, or any portion thereof, designated as
disputed, contingent or unliquidated in the Debtor’s Schedules filed in connection with its
Reorganization Case, or any Claim against which an objection to the allowance thereof has
been interposed and as to which such objection a Final Order has not been entered or any
Claim against which the period for bringing such objection as provided hereunder has not
expired.

1.31 Disputed Claim Amount means (a) if a liquidated amount is set forth in
the Proof of Claim relating to a Disputed Claim, (i) the liquidated amount set forth in the
Proof of Claim relating to the Disputed Claim; (ii) an amount agreed to by the Debtor and the
Holder of the Disputed Claim; or (iii) if a request for estimation is filed by any party, the

amount at which the Claim is estimated by the Bankruptcy Court; (b) if no liquidated amount
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is set forth in the Proof of Claim relating to a Disputed Claim, (i) an amount agreed to by
the Debtor and the holder of the Disputed Claim or (ii) the amount estimated by the
Bankruptcy Court with respect to the Disputed Claim; or (c) if the Claim was listed on the
Schedules as unliquidated, contingent or disputed and no Proof of Claim was filed, or
deemed to have been filed, by the Bar Date and the Claim has not been resolved by written
agreement of the parties or an order of the Bankruptcy Court, zero.

1.32 Disputed Claim Holder means the holder of a Disputed Claim.

1.33 Distribution means any distribution pursuant to the Plan to the Holders of
Allowed Claims.

1.34 Distribution Date means the date upon which initial distributions are made
by the Disbursing Agent to Holders of Allowed Claims entitled to receive Distribution
under the Plan, which shall be thirty (30) days after the Effective Date.

135 Effective Date means the day following the day upon which the order of
Confirmation has become a Final Order.

1.36 Estate means the estate of the Debtor created under section 541 of the Bankruptcy
Code.

1.37 Exhibit means the exhibits filed in support of this Plan or as an appendix to the
Disclosure Statement.

1.38 Extension Period means the additional ninety (90) days that the Cure period
shall be extended in the event of any act of terrorism or God which adversely impacts
upon the ability of the Debtor or Reorganized Debtor to satisfy payment obligation under the
Plan.

1.39 Final Order means an order or judgment of the Bankruptcy Court, or other
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court of competent jurisdiction, as entered in the Chapter 11 Case, the operation or effect of
which has not been stayed, reversed or amended and as to which order or judgment (or any
revision, modification, or amendment thereof) the time to appeal or seek review or rehearing
has expired and as to which no appeal or petition for review or rehearing was Filed or, if
Filed, remains pending.

1.40 General Unsecured Claim means a Claim that is not an Administrative
Claim, Priority Tax Claims, Priority Non-Tax Claim, Secured claim or Professional Fee Clair.

1.41 Governmental Unit means a “governmental unit” as defined in section
101(27) of the Bankruptey Code.

1.42 Holder means the legal or beneficial holder of a Claim (and, if used in
conjunction with a Class or type of Claim, means a holder of a Claim in such Class or of
such type).

1.43 Impaired means a Claim or Class that is impaired within the meaning of
section 1124 ofthe Bankruptcy Code.

1.44 Person means an individual, corporation, partnership, joint venture, trust,
estate, unincorporated association, unincorporated organization, governmental entity, or
political subdivision thereof, or any other entity.

1.45 Petition Date means May 20, 2015, the date of the commencement of the
Debtor’s Reorganization Case.

1.46 Plan means this document entitled “Plan of Reorganization’ including the
exhibits and all supplements, appendices, and schedules, either in its current form or as the
same may be altered, amended, or modified from time to time in accordance with the

Bankruptcy Code and Bankruptcy Rules.
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147 Plan Suppiement means, if any, such exhibits, documents, lists or schedules
not filed with the Plan but as may be filed in connection therewith within ten (10) days
of the Confirmation Hearing,

148 Priority Non-f'ax Claim means a Claim, other than an Administrative Claim
or Priority Tax Claim, which is entitled to priority in payment pursuant to section 507(a) of
the Bankruptcy Code.

149 Priority Tax Claim means a Claim of a Governmental Unit of the kind
specified in sections 502(1) and 507(a)(8) of the Bankruptcy Code.

1.50 Post-Confirmation Expenses means all reasonable fees, expenses and
disbursements of Professional Person incurred after the Confirmation Date.

1.51 Professional means (a) any professional employed in the Chapter 11 Case
pursuant to sections 327, 328, or 1103 or otherwise of the Bankruptcy Code and (b)
any professional or other entity seeking compensation or reimbursement of expenses in
connection with the Chapter 11 Cases pursuant to section 503(b)(4) of the Bankruptcy Code.

1.52 Professional Fees means all allowances of compensation and reimbursement
of expenses Allowed, or to be allowed pursuant to Section 330 or 331 of the Bankruptcy
Code, to any Professional Person retained pursuant to Section 327 of the Bankruptcy Code.

1.53 Proof of Claim means the proof of claim that must be filed on or before the
Bar Date or such other date as prescribed by the Bankruptcy Court.

1.54 Released Parties means any of the Debtor and its agents, advisors, attorneys,
and representatives.

1.55 Schedules means the schedules of assets and liabilities and the statement of

financial affairs filed by the Debtor pursuant to Section 521 of the Bankruptcy Code and
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the Bankruptcy Rules, as such schedules have been or may be further modified, amended
or supplemented in accordance with Bankruptcy Rule 1009 or orders of the Bankruptcy Court.
1.56 Tax Claim means all or that part of a Claim held by a Governmental Unit for a
tax assessed or assessable against the Debtor, including income and employment taxes and
any related penalties or interest.
1.57 Unclassified Claims means Administrative, Priority and Tax Claims.
1.58 Unimpaired means a Claim that is not impaired within the meaning of
Section 1124 of the bankruptcy Code.
1.59 Unsecured Claims means any Claims which do not qualify as an
Administrative Claim, Priority Claim or Secured Claim.
1.60 Unsecured Creditor means the holder of an Unsecured Clatm.
1.61 Voting Deadline means the date and time, as fixed by an order of the
Bankruptcy Court and set forth in the Disclosure Statement, by which all Ballots to accept or
reject the Plan must be received in order to be counted.
C. —_ Rules of Interpretation
The provisions of the Plan shall control over any descriptions contained in the Disclosure
Statement. Where the Plan refers to “any contract, instrument, or other agreement or document
created in connection with the Plan,” the provisions of such contract, instrument, or other
agreement or document shall control over any inconsistency with the terms of the Plan, and
the Plan will be interpreted to avoid any inconsistencies with the provisions of such contract,
instrument, or other agreement or document.

1. Without limiting foregoing, the rules of construction set forth in Bankruptcy

Code $102 shall apply. The definitions and rules of construction contained herein do not apply
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to the Disclosure Statement or to the Exhibits to the Disclosure Statement except to the extent
expressly so stated in the Disclosure Statement.

2, The words “herein,” “hereto,” “hereunder” and others of similar import refer to
the Plan as a whole and not to any particular Article, Section, subsection or clause contained
in the Plan.

3. Unless specified otherwise in a particular reference, all references in the Plan
to Articles, Sections and Exhibits are references to Articles, Sections and Exhibits of or to
the Plan.

4, Any reference in the Plan to an existing document or Exhibit means such
document or Exhibit as it may have been amended, restated, modified, or supplemented as
of the Effective Date.

5, Captions and reference to Articles and Sections in the Plan are inserted for
convenience only and shall neither constitute a part of the Plan nor in any way affect the
interpretation of any provisions hereof.

D. Computation of Time

In computing any period of time prescribed or allowed by the Plan, the provisions
of Bankruptcy Rule 9006(a) shall apply.

E. Governing Law

Unless a tule of law or procedure is supplied by federal law (including the
Bankruptey Code and Bankruptcy Rules) and except as otherwise provided herein or therein,
the laws of the State of New York shall govern the construction and implementation of
the Plan and any agreements, documents and instruments executed in connection with the

Plan.
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TICLE

CLASSIFICATION OF CLAIMS
A. Introduction:

All Claims except Administrative Claims and Bankruptcy Fees placed in the Classes
set forth before below. In accordance with Section 1123(a)d) of the Bankruptcy Code,
Priority Tax Claims have not been classified. A claim is placed in a particular Class only to
the extent that the Claim falls within the description of that Class, and is classified in other
Classes to the extent that any portion of the Claim falls within the description of the other
Classes. A Claim is also placed in a particular Class for the purpose of receiving
distributions pursuant to the Plan only to the extent that such Claim is Allowed in that Class
and the Claim has not been paid, released or otherwise settled prior to the Effective Date.

B. Unclassified Claims
i. Administrative Claims
2. Bankruptcy Fees.
C. Priority Claims
Allowed Priority Tax claims divided in the following Classes:
Class I - Secured Priority Tax Claims:
(i) Secured priority claim of New York State Department of Taxation and Finance in
the amount of $268,288.98 comprising base taxes and accumulated interest;
(ii) Secured priority claim of Internal Revenue Service in the amount of $100,000.00
comprising base taxes and accumulated interest;
Class II - Unsecured Priority Tax Claims:

(i) Unsecured Priority claim of the New York State Department of Taxation and
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Finance in the amount of $ 55,439.96 comprising base taxes and accumulated interest;
(it) Unsecured Priority claim of Internal Revenue Service in the amount of $
249,238.91 comprising base taxes and accumulated interest;
Class III - Unsecured Priority Tax Claims:
(i) New York State Department of Labor with a priority claim in the amount of $
31,034.43;
(ii) NYC Department of Finance Bankruptcy and Assignment Unit with priority
claim in the amount of $ 7,774.88:
D. Class IV consists of the claims of general unsecured creditors in the Debtor’s case totaling
approximately $ 454,943.62.
E. Class V consists of the claims of disputed general unsecured creditors in the Debtor’s case
totaling approximately $603,597.84.
¥, Akiva Ofshtein, the Class VI interest holder.
ARTICLE I!
TREATMENT OF CLAIM
1, Administrative Claims
Administrative claims consist of the Debtor’s duly retained professionals and any
other administrative expenses allowed under Section 503 of the Bankruptcy Code.
Administrative Claims will include the fees and expenses of the Debtor’s Counsel, Alla
Kachan, Esq., in the approximate amount of $3,000.00 (through confirmation, exclusive of the
pre-petition retainer received prior to the Petition Date in the amount of $12,000.00 from the
Debtor).

Wisdom Professional Services Inc. asserts a claim for the fees and expenses as
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accountants for the Debtor, in the approximate amount of $5,000.00 (through confirmation,
exclusive of the pre-petition retainer received prior to the Petition Date in the amount of

$1,000.00 from the Debtor).

Internal Revenue Service assets an administrative claim in the approximate amount of

$1,365.98.

New York State department of taxation and Finance assets an administrative claim
in the approximate amount of $18,191.77,

New York State Department of Labor assets an administrative claim in the approximate
amount of $24, 314.71.

The claims of Debtor’s professionals shall be subject to final fees applications pursuant
to Bankruptcy Code Section 330 and orders of the Court approving the fees and expenses as
sought by this application. The Debtor estimates that the total administrative fees paid to
professionals will equal to $51,872.46. The Debtor is currently engaging in negotiating with all
agencies aserting an. administrative claim in order to secure a repayment plan of the claims.

In order to confirm the Plan, it is necessary for the Debtor to satisfy the
Administrative Claims in full at or before Confirmation or have the holder of cach
Administrative Claim agree to a different treatment.

2. Statutory Bankruptcy Fee

All Bankruptcy fees and charges assessed against the Debtor under 28 U.S. § 1930(a}(6)
payable to the United States Trustee shall be paid in cash by the Effective Date, with any
applicable interest thereon. Thereafter, such fees and any applicable interest shall continue to
be paid by the Debtor until Debtor’s case is closed by entry of a final decree, converted, or

dismissed,
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The Debtor shall pay all United States Trustee quarterly fees under 28 U.S.C.
§1930(a)(6), plus interest due and payable under 31 U.S.C. § 3717 on all disbursements,
including Plan payments and disbursements in and outside the ordinary course of the Debtor's
affairs, until the entry of a Final Decree, dismissal of the Chapter 11 Case or conversion of the
Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code. Additionally, the Debtor
shall file quarterly Post Confirmation Reports and schedule quarterly post-confirmation status
conferences with the Court.

3. Priority Claims
Class I - Secured Priority Tax Claims:

(i) Secured priority claim of New York State Department of Taxation and Finance in
the amount of $268,288.98 comprising base taxes and accumulated interest shall be paid in full
within sixty (60) months of the Confirmation Date or have the holder of the Priority Claim agree
to a different treatment, together with 6% rate of interest compounded daily in equal monthly
installments of $5,186.78.

(ii) Secured priority claim of Internal Revenue Service in the amount of $100,000.00
coinprising base taxes and accumulated interest shall be paid in full within sixty (60) months of
the Confirmation Date or have the holder of the Priority Claim agree to a different treatment,
together with Federal short term interest rate 3% plus 3 percentage points, totaling a 6% rate of
interest compounded daily rate of interest in equal monthly installments of $1,933.28.

(iii) The class I creditors are impaired and are entitled to vote on the Plan.

Class IT - Unsecured Priority Tax Claims:
(iy Unsecured Priority claim of the New York State Department of Taxation and

Finance in the amount of $ 55,439.96 comprising base taxes and accumulated interest shall be
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paid in full within sixty (60) months of the Confirmation Date or have the holder of the Priority
Claim agree to a different treatment, together with a 6% rate of interest compounded daily in
equal monthly installments of $ 1,071.81.

(ti) Unsecured Priority claim of Internal Revenue Service in the amount of $
249,238.91 comprising base taxes and accumulated interest shall be paid in full within sixty (60)
months of the Confirmation Date or have the holder of the Priority Claim agree to a different
treatment, together with Federal short term interest rate 3% plus 3 percentage points, totaling a
6% rate of interest compounded daily in equal monthly installments of $ 4,816.55.

The class II creditors are impaired and are entitled to vote on the Plan.

Class III - Unsecured Priority Tax Claims:

(i) New York State Department of Labor with a priority claim in the amount of
$31,034.43 shall be paid in full within sixty (60) months of the Confirmation Date in equal
monthly installments of $517.24;

(ii) NYC Department of Finance Tax Audit and Endorsement Division with priority
claim in the amount of $7,774.88 shall be paid in full within sixty (60} months of the
Confirmation Date in equal monthly installments of $129.58;

Class III Claims are unimpaired and not entitled to vote pursuant to §1124 of the
Bankruptcy Code.

4, General Unsecured Claim

Class IV- (Unsecured Claim) - Class IV consists of the claims of general unsecured

creditors in the Debtor’s case totaling approximately $ 454,943.62.
| The Debtor proposes to pay the Unsecured. Creditors ten percent (10%) dividend of their

allowed claims in sixty (60) equal monthly installments effective thirty (30) days after the
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Effective Date of this Plan. The class IV creditors are impaired and are entitled to vote on the

Plan.
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Aggregate
Members of Class IV Dollar Plan Treatment of Class IV

Amount of

Claims in
Company Tee Supply $7,049,22 10% dividend in 60 monthly installment payments
Badlor Specialty Foods $5,539.08 10% dividend in 60 monthly installment payments
Brooklyn Nets, LLC $13,500.00 10% dividend in 60 monthly installment payments
Chief Fire Protection $257,89 10% dividend in 60 monthly installment payments
D’Artagnan $2,164.88 10% dividend in 60 monthly installment payments
Endicott Meats $8,023.93 10% dividend in 60 monthly installment payments

Fang Realty Inc., pre-
petition rent arrears
Go Fresh Produce
Internal Revenue
Service, Penalties
accessed

National Grid

NYC Office of
Administrative Trials &
Hearing

NYS Department of
Taxation and Finance,
Penalties accessed

$182,712.92 10% dividend in 60 monthly installment payments
$1,234.65 10% dividend in 60 monthly installment payments

$98,085.49 10% dividend in 60 monthly installment payments
$6,608.07 10% dividend in 60 monthly installment payments

$6,536.36 10% dividend in 60 monthly installment payments

$100,862.61 10% dividend in 60 monthly installment payments

Paper Enterprises $1,358.43 10% dividend in 60 monthly installment payments
Samuels & Son of ates . his

Seafood, Co $2,855.10 10% dividend. in 60 monthly installment payments
Sysco Long Island, LLC $6,145.15 10% dividend in 60 monthly installment payments

Two Cousins Fish
Market, Inc.

The Brooklyn Union
Gas Company

Satur Farms, LLC

$5,501.55 10% dividend in 60 monthly installment payments
$2,495.54 10% dividend in 60 monthly installment payments

$3,087.75 10% dividend in 60 monthly installment payments

Wesco Insurance
Company
Total:

$925,00 10% dividend in 60 monthly installment payments
$454,943.62 .

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10% Monthly
Divident payment
$704.92 $11.75
$553.91 $9.23
$1,350.00 $22.50
$25.79 $0.43
$216.49 $3.61
$802.39 $13.37
$18,271.29 $304.52
$123.47 $2.06
$9,808.55

$163.48
$660.81 $11.01
$653.64

$10.89
$10,086.26

$168.10
$135.84 $2.26
$285.51 $4.76
$614.52 $10.24
$550.16 $9.17
$249.55 $4.16
$308.78 $5.15
$92.50 $1.54
$45,494.36 $758.24
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5. Disputed General Unsecured Claim
Class V- (Unsecured Claim) - Class V consists of the claims of disputed general
unsecured creditors in the Debtor’s case totaling approximately $603,597.84.
The Debtor proposes to pay the Disputed Unsecured Creditors ten percent (10%)
dividend of their allowed claims in sixty (60) equal monthly installments effective thirty (30)
days after the Effective Date of this Plan. The class V creditors are impaired and are entitled to

vote on the Plan.
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Members of Class V

A. Sterm Meat Product
ACE Endico Corp.

All in one entertainment

Amy’s Bread

Aramark Uniform

Services
Bank Direct Capital
Finance

Bartlett Dairy , inc.

Bein Cuit

Borax Paper Products ,
Inc

Brooklyn Brewery
Capital One
CCAuthiriz Paisanos
Prov

Dairyland USA Corp.

DeBraggaé&Spitler Inc.
Domaine Select
Merchants

Dutch Girl Cheese
Ecolab

Endicott Meats
Environmental Control
Boa

FedEx

Fossil Farms

Integrity Payment
System

Intellig Roasting & Tea
ISG Capital, INC
Kingston Check
Cashing Co

Lobster Place
Magnifique Cleaninig
Ser

Merchants Capital
Access

Merchants Capital
Access

Michael Skurnik Wines

Aggregate
Dollar
Amount of
Claims in

Plan Treatment of Class V

$4,397,70 10% dividend tn 60 monthly installment payments

$805.00 10% dividend in 60 monthly installment payments

$310.56 10% dividend in 60 monthly installment payments

$13,162.27 10% dividend in 60 monthly installment payments

$8,441.58 10% dividendin 60 monthly installment payments

$313.05 10% dividend in 60 monthly installment payments

$1,072.10 10% dividend in 60 monthly installment payments

$3,110.44 10% dividend in 60 monthly installment payments

$237.93 10% dividend in 60 monthly installment payments
$2,361.41 10% dividend in 60 monthly installment payments

$13,229.60 10% dividend in 60 monthly installment payments
$14,528.78 10% dividend in 60 monthly installment payments

$6,053.61 10% dividend in 60 monthly installment payments

$698.12 10% dividendin 60 monthly installment payments
$3,196.80 10% dividend in 60 monthly installment payments
$8,023.93 10% dividend in 60 monthly installment payments

$2,600.00 10% dividend in 60 monthly installment payments

$673.06 10% dividend in 60 monthly installment payments
$771.74 10% dividend in 60 monthly installment payments

$1,635.39 10% dividend in 60 monthly installment payments
$245,000.00 10% dividend in 60 monthly installment payments

$961.78 10% dividend in 60 monthly installment payments

$7,072.13 10% dividend in 60 monthly installment payments

$1,306.54 10% dividend in 60 monthly installment payments

$150,000.00 10% dividend in 60 monthly installment payments

$2,860.00 10% dividend in 60 monthly installment payments

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10%
Divident

$439.77
$80.50
$31.06

$1,316.23

$844.16
$31.31
$107.21

$311.04

$23.79
$236.14

$0.00
$1,322.96
$1,452.88
$605.36

$69.81
$319.68
$802.39

$200.00

$67.31
$77.17

$0.00

$163.54
$24,500.00

$96.18
$707.21
$130.65

$0.00

$15,000.00
$286.00

Monthly
payment

$7.33

$1.34
$0.52

$21.94

$14.07
$0.52
$1.79

$5.18
$0.40
$3.94

$0.00

$22.05
$24.21

$10.09
$1.16
$5,33
$13.37

$3.33
$1.12
$1.29
$0.00
$2.73
$408,33

$1.60
$11.79

$2.18
$0.00

$250.00
$4.77
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MHW LTD

M. Tucker
Network Services
Company

NY City Health
Deptmnt

On Hold Marketing
Opici Wine Group
Paisanos Provisions

Perfomance Foodservice

Piccinini Brothers, Inc.
Pipe Dream

Priority Payment
System

Sea Creast Linen

Sid Wainer & Son
super PC System, Inc

sysco Long Island, LLC

The Cousins Fish
Market

The Lobster Place, Inc.

The Pay-O-Matic Corp.

Tom Cat Bakery, Inc.
TransFirst

USA Wine Imports
Verizon

Warwick Valley Wine
Western Pest Services
Winebow

Total:

$1,553.52 10% dividend in 60 monthly installment payments
$416.91 10% dividend in 60 monthly installment payments

$1,345.45 10% dividend in 60 monthly installment payments

$1,120.00 10% dividend in 60 monthly installment payments

$1,199.25 10% dividend in 60 monthly installment payments
$1,780.78 10% dividend in 60 monthly installment payments
$792.39 10% dividend in 60 monthly installment payments

$7,000.00 10% dividend in 60 monthly installment payments

$5,899.98 10% dividend in 60 monthly installment payments
$517.14 10% dividend in 60 monthly installment payments

$50,000.00 10% dividend in 60 monthly installment payments

$2,938.33 10% dividend in 60 monthly installment payments
$5,877.34 10% dividend in 60 monthly installment payments

$6,145.15 10% dividend in 60 monthly installment payments

$5,616.84 10% dividend in 60 monthly installment payments

$5,291.00 10% dividend in 60 monthly installment payments

$800.00 10% dividend in 60 monthly installment payments
$8,900.00 10% dividend in 60 monthly installment payments

$1,232.02 10% dividend in 60 monthly installment payments
$556.37 10% dividend in 60 monthly installment payments
$180,00 10% dividendin 60 monthly installment payments
$591.47 10% dividend in 60 monthly installment payments

$1,620.38 10% dividend in 60 monthly installment payments

$603,597.84

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$155.35
$41.69

$134.55

$112.00

$119.93
5178.08
$79.24

$700.00

$590.00
$51.71

$5,000.00

$293.83
$587.73
$0.00

$614.52

$561.68

$529.10

$80.00

$890.00
$0.00
$123.20
$55.64
$18.00
$59.15
$162.04

$60,359.78

$2.59
$0.69

$2.24

$1.87
$2.00
$2.97
$1.32

$11.67
$9.83
$0.86

$83.33
$4.90
$9.80
$0.00

$10.24

$9.36
$8.82

$1.33
$14.83
$0.00
$2.05
$0.93
$0.30
$0.99
$2.70

$1,006.00
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Akiva Ofshtein, the Class WI interest holder, shall retain his interest in the Debtor
following Confirmation in consideration of the new value contribution being made by him as the
equity holder toward the payment of general unsecured creditor claims. The new value
contribution shall consist of monthly supplementary payments by Mr. Ofshtein, toward the

Debtor’s plan payments, in the approximate sums between $4,000.00-6,000.00 monthly.

ARTICLE IV
ACCEPTANCE OR REJECTION OF THE PLAN
A. Impaired Classes of Claims entitled to Vote
The Holders of Claims in Classes 1, 1, TV and V are entitled to vote to accept or
reject the Pian, and the votes of the Holders of claims in said Classes will be solicited.
B. Impaired Classes of Claims entitled to Vote
In accordance with Section 1126{c) of the Bankruptcy Code and except as
provided in Section 1126(e) of the Bankruptcy Code, an Impaired Class or Claims shall have
accepted the Plan if the Plan is accepted by the Holders of at least two-thirds (2/3) in dollar
amount and more than one-half (1/2) in number of Allowed Claims of such Class that have
timely and properly voted.
ARTICLE V
MEANS FOR IMPLEMENTATION THE PLAN
A. Implementing Action
The entity’s reorganization plan is to maximize revenue by hiring one permanent
manager, who receives a year end incentive bonus and is therefore directly interested in the

business’s successful operation. Moreso, streamlining the business operations and cutting down
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on unnecessary staff and re-evaluating vendors to cut down costs. Increased marketing of
weekly theme parties and events will allow the business to be less dependent on seasonal
fluctuations.

Mr. Ofshtein will be making a monetary contribution for the new marketing expenses out
of personal funds toward the which constitute new value, in order to retain his equity interest
in Prime Six. Inc.

B. __ Post-Effective Date Costs

From and after the Effective Date and without further order of the Bankruptcy
Court, the Debtor shall pay the fees and expenses of its Professionals in the ordinary
course of business including, without limitations, those fees and expenses incurred in
connection with the implementation and consummation of the Plan.

C. Preservation of Causes of Action

In accordance with Section 1123(b)(3) of the Bankruptcy Code and except as
otherwise provided in an order of the Bankruptcy Court the Debtor and its Estate shall retain
all of the causes of action arising under applicable state laws, including, without limitation,
the Causes of Action, Avoidance Actions, if any, and all other causes of action of a trustee
and debtor in possession under the Bankruptcy Code.

ARTICLE VI
DISTRIBUTION UNDER THE PLAN

A. The Disbursing Agent(s)

The reorganized Debtor shall act as Disbursing Agent(s) under the Plan, subject to the
terms and provisions of the Plan. The Disbursing Agent shall not be required to give any

bond or surety or other security for the performance of its duties unless otherwise ordered by
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the Bankruptcy court or required by the Bankruptcy Code or the Bankruptcy Rules.

B. Cash Payments

Cash payments made pursuant to the Plan will be made on the Effective Date in U.S.
Dollars by checks drawn on a banking institution that is an authorized depository in the
Eastern District of New York selected by the Debtor or by wire transfer from a banking
institution that is an authorized depository in the Eastern district of New York at the option of
the Debtor.

C. Transmittal of Distribution

All distributions shall be deemed made at the time such distribution is deposited
in the United States mail, postage prepaid. Except as otherwise agreed with the holder of
an Allowed Claim or Allowed Interest such distribution shall be distributed by mail to ()
the latest mailing address filed of record for the party entitled thereto or to a Holder of a
power of attorney designated by such Holder to receive such distributions or (i) if no such
mailing address has been so filed, the mailing address reflected upon the filed Schedules of
Assets and Liabilities or in the Debtor’s books and records.

D.  Undeliverable Distribution

If any distribution is returned to a disbursing Agent as undeliverable or is otherwise
unclaimed, no further distributions shall be made to the Holder of the Allowed Claim or
Allowed Interest on which such distribution was made unless and until the Debtor is
notified in writing of such Holder’s then-current address, at whitch time all mussed
Distributions shall be made to the Holder without interest. Undeliverable distributions shall
remain. in the possession of the Debtor until such time as a distribution becomes deliverable

or is deemed canceled (as hereinafter provided), Any unclaimed distribution held by Debtor
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shall be accounted for separately, but the Disbursing Agent shall be under no duty to invest
any such unclaimed distribution in any manner. Any Holder of an Allowed Claim or Allowed
Interest that does not present a claim for an undeliverable distribution within one hundred
eighty (180) days after the date upon which a distribution is first made available to such
Holder shall have its rights to such distribution discharged after service by the Debtor with
a waiver notice detailing the creditor(s) name and distribution amount, and shall be
forever barred from asserting any such Claim or Interest against the Debtor or its property
or against any other Person, including the Debtor. Alf unclaimed or undistributed
distributions shall, pursuant to Bankruptcy Code Section 347(b) be the property of the Debtor
and shall be treated as determined by the Debtor in its sole and absolute discretion.

E. Interest on Claims

Post-petition interest shall not accrue or be paid on any Claims, and no Holder of a
Claim shall be entitled to interest accruing on or after the Petition Date on any Claim
unless otherwise specifically provided for in the Confirmation Order, or required by
applicable bankruptcy law.

F. Withholding and Reporting Requirements

In accordance with Section 346 of the Bankruptcy Code and in connection with the
Plan and all distributions hereunder, the Disbursing Agent shall, to the extent applicable,
comply with all withholding and reporting requirements imposed by any federal, state,
provincial, local or foreign taxing authority. The Disbursing Agent shall be authorized to
take any and all actions necessary and appropriate to comply with such requirements. As a
condition of making any distribution under Plan, the Disbursing Agent may require the

Holder of an Allowed Claim to provide such Holder’s taxpayer identification number, and
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such other information, certification or form as necessary to comply with applicable tax
reporting and withholding laws. Notwithstanding any other provision of the Plan, each
Person receiving a Distribution pursuant to the Plan shall have sole and exclusive
responsibility for the satisfaction and payment of tax obligations on account of any such
Distribution.
ARTICLE VII
CONFIRMATION AND CONSUMMATION OF THE PLAN

The following are conditions precedent to the occurrence of the Effective Date,
each of which must be satisfied or waived in writing: (() The Confirmation Order shall have
been entered and become a Final Order and shall provide that the Debtor is authorized and
directed to take all actions necessary or appropriate to enter into, implement and consummate
the agreements or documents created in connection with the Plan or effectuate advance or
further the purposes thereof; (ii) All other actions, documents, and agreements necessary
to implement the Plan shall have been effected or executed; and (iii) The Debtor shall
have sufficient Cash to enable all required payments necessary to Confirmation to be made.

If the Effective Date does not timely occur, the Debtor reserve all rights to seek an
order from the Bankruptcy Court directing that the Confirmation Order be vacated, that the
Plan be null and void in all respects, and/or that any settlement of Claims provided for in
the Plan be null and void. If the Bankruptcy Court enters an order vacating the
Confirmation Order, the time within which the Debtor may assume and assign, or reject all
executory contracts and unexpired leases not previously assumed, assumed and assigned, or
rejected, shall be extended for a period of 30 days after the date the Confirmation Order is

vacated, without prejudice to further extensions.
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ARTICLE VII
PROCEDURES FOR RESOLVING DISPUTED CLAIMS

A. Time Limit for Objections to Claims

Objections to Claims shall be filed by the Debtor with the Court and served upon
each Holder of each of the Claims to which objections are made, not later than sixty (60)
days subsequent to the Confirmation Date or with such other time period as may be fixed by
the Court.

B. Resolution of Disputed Claims

Unless otherwise ordered by the Court, the Debtor shall litigate to judgment, settle
or withdraw objections to Disputed Claims, in its sole discretions, without notice to any
party in interest.

Notwithstanding any other provision of the Plan, no Distributions shall be made with
respect to all or any portion of a Disputed Claim unless and until all objections to the
Disputed Claim have been settled or withdrawn or have been determined by Final Order,
and the Disputed Claim, or some portion thereof, has become an Allowed Claim. To the
extent that a Claim is not a Disputed Claim but is held by a Holder that is or may be
liable to the Debtor on account of a Cause of Action, no Distributions shall be made with
respect to all or any portion of such Claim unless and until such Claim and liability have
been settled or withdrawn or have been determined by Final Order of the Bankruptcy Court
or such other court having jurisdiction over the matter.

C. Distribution after Allowance

Distributions to the Holder of a disputed claim, to the extent that it ultimately

becomes an Allowed claim, will be made in accordance with provisions of the Plan that
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govern distributions to Holders in that Class,

D. Estimation

The Debtor may, at any time, request that the Bankruptcy Court estimate any
contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy
Code regardless of whether the Debtor previously objected to such Claim. The Bankruptcy
Court shall retain jurisdiction to estimate any Claim at any time during litigation
concerning any objection to any Claim, including, without limitation, during the pendency
of any appeal relating to any such objection. In the event that the Bankruptcy Court
estimates any contingent, unliquidated, or Disputed Claim, the amount so estimated shall
constitute either the Allowed amount of such Claim or a maximum limitation on such Claim,
as determined by the Bankruptcy Court. If the estimated amount constitutes a maximum
limitation on the amount of such Claim, the Debtor may pursue supplementary
proceedings to object to the allowance of such Claim. All of the aforementioned
objection, estimation, and resolution procedures are intended to be cumulative and not
exclusive of one another. On and after the Effective Date, Claims that have been
estimated may be compromised, settled, withdrawn, or otherwise resolved subsequently,
without farther order of the Bankruptcy Court.

ARTICLE IX
TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A. Rejected Contracts and Leases

Except as otherwise provided in the Confirmation Order or the Plan, the Confirmation
Order shall constitute an order under Section 365 of the Bankruptcy Code rejecting all

pre-petition executor contracts and unexpired leases to which the Debtor is a party, to the
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extent such contracts or leases are executor contracts or unexpired leases, on and subject
to the occurrence of the Effective Date, unless such contract or lease (a) previously shall
have been assumed, assumed and assigned, or rejected by the Debtor, (b) previously shall
have expired or terminated pursuant to its own terms before the Effective Date, or (c) is the
subject of a pending motion to assume or reject on the Confirmation Date.

B. _ Bar to Rejection Damages

If the rejection of an executor contract or unexpired lease gives rise to a Claim by the
other party or parties to the contract or lease, the Claim shall be forever barred and shall
not be enforceable against the Post-Confirmation Debtor, unless a Proof of Claim is filed
and served on the Post- Confirmation Debtor within 30 days after service of a notice of the
Effective Date or such other date as is prescribed by the Bankruptcy Court.

ARTICLE X
DEFAULT

The Debtor shall be deemed in default if it fails to make timely payments to any
creditors as provided for in the Plan and the Debtor and each creditor shall abide by the
following:

1.Upon written receipt from any creditor of notice of default relating to payments,
the Debtor shall have a period of thirty (30) days from receipt of such notice to cure
such default, during such 30-day period, the creditors shall take no action to terminate the
Debtor’s Plan. If such default is cured by the Debtor within the 30-day period, the Plan shall
continue in full force and effect. Any notices of default under the Plan shall be served upon
the Debtor and Debtor’s attorney.

2.1f full payment of the default amount is not paid by the Debtor within thirty (30)
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days of such demand, the Internal Revenue Service and/or New York State Department of
Taxation and Finance may collect any unpaid liabilities through governing administrative
collection provisions, and the automatic stay of 11 U.S.C. §363(a) is lifted for this purpose
without further order of the court.

3.1f Debtor fails to make any post-confirmation deposits, fails to pay any post-
confirmation tax liability or fails to file post-confirmation tax returns by the due date of the
tax return, then after 5-days written notice of default to Debtor and Debtor’s counsel and
Debtor’s failure to cure, the United States and/or the New York State Department of Taxation
and Finance may declare a default of the Plan.

4, If full payment is not made within thirty (30) days of demand, then the Internal
Revenue Service may collect the entire tmposed liability, together with any unpaid current
liabilities, plus accruals, shall become due and payable immediately, through the administrative
collection provisions of the Internal Revenue Code, and the automatic stay of 11 USC 362(a) is
lifted for this purpose without further order of the Court.

ARTICLE XI
DISCHARGE AND INJUNCTION

A. Discharge of the Debtor

Pursuant to Section 1141(d)(5) of the Bankruptcy Code, upon the Effective Date,
the Debtor will be discharged from any claim that arose prior to the petition date whether or
not the Holder of the Clam has accepted the Plan, except that the debtor may, by separate
motion and after notice and a hearing seek discharge for cause. Pursuant to Section
1141(d)(2) of the Bankruptcy Code, the Debtor will not be discharged from any debt

excepted from discharge under section 523 of this title.
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B. Release by the Debtor

To the extent permitted by Section 1125{e) of ‘the Bankruptcy Code on the
Effective Date, the Debtor and its Estate shall be released unconditionally, and hereby
deemed to forever release unconditionally, (i) Debtor’s Professionals from any and all
claims, obligations, suits, judgments, damages, rights, causes of action and liabilities
whatsoever (other than the right to enforce the performance of their respective obligations, if
any, to the Debtor under the Plan, and the contracts and other agreements delivered under the
Plan), whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known
or unknown, foreseen or unforeseen, directly or derivatively, then existing or thereafter
arising, in law, equity or otherwise that are based in whole or in part on any act or omission,
transaction, event or other occurrence taking place on or prior to the Effective Date in any
way relating to the Debtor, the Chapter 11 Case, the Plan or the Disclosure Statement
provided, however, that notwithstanding the foregoing nothing contained herein is intended
to or shall operate as a release of any claims for fraud, willful misconduct or gross
negligence,

C. Injunction

Except as otherwise provided in the Plan, the Confirmation Order shall provide,
among other things, that from and after the Effective Date all Persons who have held, hold or
may hold Claims against the Debtor are permanently enjoined from taking any of the
following actions against the Debtor, its Estate, or any of their property on account of
any such Claims: (1) commencing or continuing, in any manner or in any place, any action
or other proceeding; (2) enforcing, attaching, collecting or recovering in any manner, any

judgment, award, decree or order; (3) creating, perfecting or enforcing any lien or
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encumbrance; (4) asserting a setoff, right of subrogation or recoupment of any kind against
any debt, liability or obligation due to the Debtor unless authorized under the Plan; (5)
commencing or continuing, in any manner or in any place, any action that does not comply
with or is inconsistent with the provisions of the Plan; provided, however, that nothing
contained in the Plan shall preclude such Persons from exercising their rights pursuant to an
d consistent with the terms of the Plan or the Confirmation Order.

D. Limitation of Liability

Except as otherwise provided in the Plan, the Debtor and its Professionals and any of
such parties’ successors and assigns, shall not have or incur any claim, action, proceeding,
Cause of Action, suit, account, controversy, agreement, promise, right to legal remedies, right
to equitable remedies, right to payment or Claim (as defined) in Section 101(4) of the
Bankruptcy Code), whether known, unknown, reduced to judgment, not reduced to
judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
undisputed, secured or unsecured and whether asserted or assertable directly or derivatively,
in. law equity or otherwise to one another or to any Holder of a Claim, or any other party
in interest, or any of their respective agents, employees, representatives, financial advisors,
attorneys, or any of their successors or assigns, for any act or omission originating or
occurring on or after the Petition Date through and including the Effective Date in
connection with, relating to, or arising out of the Debtor, the Chapter 11 Case, negotiation
and filing of the Plan or any prior plans, filing Chapter 11 Case, the pursuit of confirmation
of the Plan or any prior plans, the consummation of the Plan, the administration of the
Plan or the property to be liquidated other than resulting from and/or gross negligence as

determined by a Final Order of a court of competent jurisdiction, and in all respects shall be
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entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities under the Plan. Nothing herein shall abrogate the requirements of any
applicable professional disciplinary rules.

E. Terms of Bankruptcy Injunction or Stays

Ali injunctions or stays provided for in the Chapter 11 Case under Sections 105 or 362
of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall
remain in full force and effect until the Effective Date unless otherwise provided in this
Plan, Upon the Effective Date, the injunction provided in Article XI(D) shall apply.

ARTICLE XII
RETENTION OF JURISDICTION

The Court shall retain and have exclusive jurisdiction over the Chapter 11 Case for
the following purposes:

1. to determine any and all objections to the allowance of claims;

2. to determine any and all pending applications for the rejection or assumption of
executor contracts or unexptred leases to which the Debtor is a party or with respect to which
it may be liable, and to hear and determine, and if not be to liquidate, any and all Claims
arising therefrom;

3. to determine any and all applications, adversary proceedings, and contested or
litigated matters, to set aside liens or encumbrances and to recover any preferences,
transfers, assets or damages to which the Debtor may be entitled under applicable
provisions of the Bankruptcy Code or other federal, state or local law;

4. to consider any modifications of the Plan, any defect or omission or reconcile

any inconsistency in any order of the Bankruptcy Code, including the Confirmation Order,
Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22ilo 124900

to the extent authorized by the Bankruptcy Code or other applicable law;

5. to determine all controversies, suits and disputes that may arise in connection with
the interpretation, enforcement or consummation of the Plan, including disputes between or
among classes of claimants under the Plan regarding allocations or payments of distribution
hereunder;

6. to consider and act on the compromise and settlement of any claim against or cause
of action by or against the Debtor or the Debtor’s estate;

7. to determine such other matters which may be set forth in the Confirmation
Order or which may arise in connection with the Plan, including, but not limited to,
extending and time limits provided in the Plan and to implement the transfer of the fee
simple interest in the Premises to Debtor;

8. to fix the allowance of compensation of professionals;

9, Enforce all orders previously entered by the Bankruptcy Court; and

10. Enter a Final Decree closing the Chapter 11 Case,

ARTICLE XII
GENERAL PROVISIONS

A. Modification and Amendments

The Debtor may alter, amend or modify the Plan or any Exhibits under Section 1127(a)
of the Bankruptcy code at any time prior to the Confirmation Date. After the Confirmation
Date and prior to substantial consummation of the Plan as defined in Section 1101(2) of the
Bankruptcy Code, the Debtor may, under Section 1127(b) of the Bankruptcy Code,
institute proceedings in the Bankruptcy Court to remedy any defect or omission or reconcile

any inconsistencies in the Plan, the Disclosure Statement or the Confirmation Order, and
Case 1-19-42594-cec DOC LVUo FieadO/izcilo Entered Os/icc/10 12.4900

such matters as may be necessary to carry out the purpose and effect of the Plan so long
as such proceedings do not adversely affect the treatment of Holders of Claims under the
Plan; provided, however, that prior notice of such proceedings shall be served in accordance
with the Bankruptcy Rules or order of the Bankruptcy Court.

B. Severability

If any provision in this Plan is determined to be invalid, void or unenforceable,
the determination will in no way limit or affect the enforceability and operative effect of any
other provision of this Plan.

C. ‘Binding Effect

The Plan shall be binding upon and inure to the benefit of the Debtor, all present
and former Holders of Claims and their respective successors and assigns.

D. Successors and Assigns

The rights, benefits and obligations of any Person named or referred to in the Plan shall
be binding on, and shall insure to the benefit of, any heir, executor, administrator,
successor or assign of that Person.

E. Final Decree

Pursuant to Local Bankruptcy Rule 3022-1, within fifteen (15) days following the
substantial administration of the estate, the Debtor or the Reorganized Debtor shall file, on
notice to the United States Trustee, an application and a proposed order for a final decree
closing this case.

F. __ Post-Confirmation Report

The Debtor shall be required to file quarterly post-confirmation status reports until

the case is closed, converted, or dismissed whichever happens earlier.
Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22ilo 124900

G. Notice and Service of Documents

Any notice, request or demand required or permitted to be made or provided to or
upon the Debtor under the Plan shall be (a) in writing, (b) served by (i) hand delivery, (ii)
overnight delivery service, (iii) first class mail, (tv) email or (v) facsimile transmission, (c}
deemed to have been duly given or made when actually delivered or, in the case of notice by
facsimile transmission, when received and telephonically confirmed and (d) addressed as
follows:
Law Offices of Alla Kachan, P.C.
3099 Coney Island Avenue, 3 Floor
Brooklyn, NY 11235
Phone: (718) 513-3145
Fax:(347)-342-3156
alla@kachanlaw.com

H. Plan Exhibits

Any and all Plan Exhibits, or other lists or schedules not filed with the Plan shall be
filed with the Clerk of the Bankruptcy Court at least three business Days prior to the date
of the commencement of the Confirmation Hearing. Upon filing, those documents may be
inspected in the office of the Clerk of the Bankruptcy Court during normal court hours.
Holders of Claims may obtain a copy of any document upon request to the Debtor.

L Filing of Additional Documents

On or before substantial consummation of this Plan, the Debtor shall file such
agreements and other documents as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of this Plan.

Dated: Brooklyn, New York Debtor and Debtor-in-Possession By:

July 22, 2016 /s/ Akiva Ofshtein
The president of Prime Six, Ine.
Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22ilo 124900

/s/ Alla Kachan

Alla Kachan, Esq.

Law Offices of Alla Kachan, PC
3099 Coney Island Avenue, 3" Floor
Brooklyn, NY 11235

Tel.: (718)-513-3145

Fax.: (347)-342-3156
Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22ilo 124900

EXHIBIT B
Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22ilo 124900

Luiqidation Analysis of Prime Six Inc

AVAILABLE FUNDS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Proceeds available from sale of Property at FMV S 32,095.00
Cash in Debtor's bank account now s 19,935.00
Cash on Hand 5 6,218.52
Security deposit S 46,917.00
Proceesds from sale of inventory $ 36,766.20
Total available for distribution § 141,931.72
CLAIMS

Chapter 7 Trustee fees S 6,000.60
Trustee's counsel § 4,000.00
Other reorganizational expenses $ 4,680.00
Net Proceeds Available to Creditors 5 127,251.72
IRS payroll tax S$ 335,769.00
NYS corp tax S 207.05
NYS dept of labor 5 3,797.00
NYS sales tax 5 287,694.00
NYS withholding tax s 111,124.00
Accounts payable S 161,091.01
Business debt § 512,557.08
Rent payable § 200,000.00
Other unsecured claims S 3,027.42
Total Claims § 1,615,266.56
Cash available after repayment $s (1,488,014.84)
Going concern value:

Proceeds available from sale of Property at FMV 5 32,095.00.
Cash in Debtor’s bank account now S 19,935.60
Cash on Hand S 6,218.52
Proceesds from sale of inventory S 36,766.20
Name, reputation and phone number S 30,000.00
Chapter 11 monthly payment S$ 16,035.70
Going concern value $ 108,979.02

Calculated by estimating all assets, value ot the name, reputation and phone number
substructing the amount of monthly payments of outstanding liabilities at per plan of
reorganization

 

 
Case 1-19-42554-Cec

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EXHIBIT C
Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22ilo 124900

Alla Kachan, Esq.

Law Offices of Alla Kachan, P.C.
3099 Coney Island Avenue, 3™ Floor
Brooklyn, NY 11235

Tel.: (718) 513-3145

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: Case No.: 1-15-42334-CEC
Chapter 11

Prime Six Inc,

Debtor.

CLASS [|] BALLOT FOR ACCEPTING OR REJECTING
PLAN OF REORGANIZATION

Prime Six Inc. filed the third amended plan of reorganization dated July 22, 2016 (the

“Plan”) for the Debtor in this case. The Court has [conditionally] approved a disclosure

statement with respect to the Plan (the “Disclosure Statement”). The Disclosure Statement
provides information to assist you in deciding how to vote your ballot. If you do not have a
Disclosure Statement, you may obtain a copy from:

LAW OFFICE OF ALLA KACHAN, P.C.

3099 CONEY ISLAND AVENUE, THIRD FLOOR

BROOKLYN, NEW YORK 11235

TEL.: (718) 513-3145

Court approval of the disclosure statement does not indicate approval of the Plan by the
Court.

You should review the Disclosure Statement and the Plan before you vote. You may
wish to seek legal advice concerning the Plan and your classification and treatment under
the Plan. Your claim has been placed in Class [| under the Plan. If you hold claims or
equity interests in more than one class, you will receive a ballot for each class in which you

are entitled to vote.

If your ballot is not received by
Case 1-1o-4250904-cec DOC LlVUo FiedUfiecilo Entered O//22/lo 12.4900

LAW OFFICE OF ALLA KACHAN, P.C.

3099 CONEY ISLAND AVENUE, THIRD FLOOR
BROOKLYN, NEW YORK 11235

TEL.: (718) 513-3145

On or before , and such deadline is not extended, your vote

 

will not count as either an acceptance or rejection of the Plan.
If the Plan is confirmed by the Bankruptcy Court it will be binding on your whether

or not you vote.

ACCEPTANCE OR REJECTION OF THE PLAN

The undersigned, the holder of a Class [ ] claim against the Debtors in the unpaid amount of

 

 

Dollars ($ )
[ |] ACCEPTS THE PLAN [ ] REJECTS THE PLAN
Dated:
Print or Type Name:
Signature:

 

Title (if corporation or partnership}:

 

Address:

 

 

 

RETURN THIS BALLOT TO:

LAW OFFICE OF ALLA KACHAN, P.C,

3099 CONEY ISLAND AVENUE, THIRD FLOOR
BROOKLYN, NEW YORK 11235

TEL.: (718) 513-3145
Case 1-19-42554-Cec

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EXHIBIT D
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Page | of 3
Amortization Calculator
| Loan Amount § 268288.98] |Monthly Pay: $5,186.78
| Loan Tem years Total of 60 Loan Payments $311,206.66
Interest Rate (APR) [gl % Total Interest $42,917.68
:
Loan Amortization Graph Payment Breakdown
$400.0K
‘== Payment
m= Balance ~
$300.0K “woes Interest A
$200.0K
$100.0K
ge Principal
@ interest
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mo 20m0 40mo 6om
Monthly Amortization Schedule
Annual Schedule | Monthly Schedule
Beginning Balance Interest Principal Ending Balance
1 $268,288.98 $1,341.44 $3,845.34 $264 443.65
2 $264,443.65 $1,322.22 $3,864.56 $260,579.09
3 $260,579.09 $1,302.90 $3,883.88 $256,695.21
4 $256,695.21 $1,283.48 $3,903.30 $252,791.90
5 $252,791.90 $1,263.96 $3,922.82 $248,869.09
6 $248,869.09 $1,244.35 $3,942.43 $244,926.65
7 $244,926.65 $1,224.63 $3,962.15 $240,964.51
8 $240,964.51 $1,204.82 $3,981.96 $236,982.55
g $236,982.55 $1,184.91 $4,001.87 $232,980.69
10 $232,980.69 $1,164.90 $4,021.88 $228,958.82
11 $228,958.82 $1,144.79 $4,041.99 $224,916.83
12 $224,916.83 $1,124.58 $4,062.20 $220,854.64
year 1 end
13 $220,854.64 $1,104.27 $4,082.51 $216,772.13
14 $216,772.13 $1,083.86 $4,102.92 $212,669.22
15 $212,669.22 $1,063.35 $4,123.43 $208 545.79
16 $208 545,79 $1,042.73 $4,144.05 $204,401.74
http://www.calculator.net/amortization-calculator.html?cloanamount=268288.98&cloanter... 5/23/2016
Case 1-10-429094-cec DOC L1VUo FiedOfiecilo Entered O//22ilo 12.4900

Page 2 of 3

17 $204,401.74 $1,022.01 $4,164.77 $200,236.97
18 $200,236.97 $1,001.18 $4,185.60 $196,051.38
19 $196,051.38 $980.26 $4,206.52 $191 844.85
20 $191,844.85 $959.22 $4,227.56 $187,617.30
21 $187,617.30 $938.09 $4,248.69 $183,368.61
22 $183,368.61 $916.84 $4,269.94 $179,098.68
23 $179,098.68 $895.49 $4,291.29 $174,807.39
24 $174,807.39 $874.04 $4,312.74 $170,494.65

year 2 end
25 $170,494.65 $852.47 $4,334.31 $166,160.35
26 $166,160.35 $830.80 $4,355.98 $161,804.37
af $161,804.37 $809.02 $4,377.76 $157,426.61
28 $157,426.61 $787.13 $4,399.65 $153,026.97
29 $153,026.97 $785.13 $4,421.65 $148,605.33
30 $148,605.33 $743.03 $4,443.75 $144,161.58
31 $144,161.58 $720.81 $4,465.97 $139,695.61
32 $139,695.61 $698.48 $4,488.30 $135,207.31
33 $135,207.31 $676.04 $4,510.74 $130,696.57
34 $130,696.57 $653.48 $4,533.30 $126,163.27
35 $126,163.27 $630.82 $4,555.96 $121,607.31
36 $121,607.31 $608.04 $4,578.74 $117,028.57

year 3 end
37 $117,028.57 $585.14 $4,601.64 $112,426.93
38 $112,426.93 $562.13 $4,624.65 $107,802.29
39 $107,802.29 $539.01 $4,647.77 $103,154.53
40 $103,154.53 $515.77 $4,671.01 $98,483.52
44 $98,483.52 $492.42 $4,694.36 $93,789.16
42 $93,789.16 $468.95 $4,717.83 $89,071.33
43 $89,071.33 $445.36 $4,741.42 $84,329.91
44 $84,329.91 $421.65 $4,765.13 $79,564.78
45 $79,564.78 $397.82 $4,788.96 $74,775.83
46 $74,775.83 $373.88 $4,812.90 $69,962.93
47 $69,962.93 $349.81 $4,836.97 $65,125.96
48 $65,125.96 $325.63 $4,861.15 $60,264.82

year 4 end
49 $60,264.82 $301.32 $4,885.46 $55,379.36
50 $55 379.36 $276.90 $4,909.88 $50,469.48
51 $50,469.48 $252.35 $4,934.43 $45,535.05
52 $45,535.05 $227.68 $4,959.10 $40,575.95
53 $40,575.95 $202.88 $4,983.90 $35,592.05
54 $35,592.05 $177.96 $5,008.82 $30,583.23
55 $30,583.23 $152.92 $5,033.86 $25,549.37

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Case 1-19-42554-Cec

$25,549.37
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$127.75
$102.45
$77.03
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year 5 end

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$20,490.34
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EXHIBIT E
Case 1-19-425904-cec DOC L1Vo Filed Ofiecilo Entered O//22/lo 12.4900

Page 1 of 3

Amortization Calculator

“Loan Amount $f 100000 [Monthly Pay: $1,933.28
| Loan Term years Total of 60 Loan Payments $115,996.81
Interest Rate (APR) 8 Y, Total Interest $15,996.81

 

 

 

 

 

Loan Amortization Graph Payment Breakdown
$150.0K

 

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Monthly Amortization Schedule

 

Annual Schedule | | Monthly Schedule

 

 

 

 

Beginning Balance Interest Principal Ending Balance

1 $100,000.00 $500.00 $1,433.28 $98 566.72
2 $98 655.72 $492.83 $1,440.45 $97,126.27
3 $97,128.27 $485.63 $1,447.65 $95,678.62
4 $95,678.62 $478.39 $1,454.89 $94,223.74
5 $94,223.74 $477.12 $1,462.18 $92,761.58
6 $92,761.58 $463.81 $1,469.47 $91,292.10
7 $91,292.10 $456.46 $1,476.82 $89,815.28
8 $89,815.28 $449.08 $1,484.20 $88,331.08
9 $88,331.08 $441.68 $1,491.62 $86,839.46
10 $86,839.46 $434.20 $1,499.08 $85,340.37
11 $85,340.37 $426.70 $1,506.58 $83,833.79
12 $83,833.79 $419.17 $1,514.11 $82,319.68

year 1 end

13 $82,319.68 $411.60 $1,521.68 $80,798.00
14 $80,798.00 $403.99 $1,529.29 $79,268.71
15 $79,268.71 $396.34 $1,536.94 $77,731.77
16 $77,731.77 $388.66 $1,544.62 $76,187.15

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Case 1-19-42554-CeC ©

$76,187.15
$74,634.81
$73,074.70
$71,506.80
$69,931.05
$68,347.43
$66,755.88
$65,156.38

$63,548.88
$61,933.35
$60,309.73
$58,678.00
$57,038.11
$55,390.02
$53,733.69
$52,069.08
$50,396.15
$48,714.85
$47,025.14
$45,326.99

$43,620.34
$41,905.16
$40,181.41
$38,449.04
$36,708.00
$34,958.26
$33,199.77
$31,432.49
$29,656.37
$27,871.37
$26,077.45
$24,274.56

$22,462.65
$20,641.68
$18,811.61
$16,972.39
$15,123.97
$13,266.31
$11,399.36

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$380.94
$373.17
$365.37
$357.53
$349,668
$341.74
$333.78
$325.78
year 2 end
$317.74
$309.67
$301.55
$293.39
$285.19
$276.95
$268.67
$260.35
$251.98
$243.57
$235.13
$226.63
year 3 end
$218.10
$209.53
$200.91
$192.25
$183.54
$174.79
$166.00
$157.16
$148.28
$139.36
$130.39
$121.37
year 4 end
$112.31
$103.21
$94.06
$84.86
$75.62
$66.33
$57.00

$1,552.34
$1,560.11
$1,567.91
$1,575.75
$1,583.62
$1,591.54
$1,599.50
$1,607.50

$1,615.54
$1,623.61
$1,631.73
$1,639.89
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$1,664.61
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$1,698.15
$1,706.85

$1,715.18
$1,723.75
$4,732.37
$1,741.03
$1,749.74
$1,758.49
$1,767.28
$1,776.12
$1,785.00
$1,793.92
$1,802.89
$1,811.91

$1,820.97
$1,830.07
$1,839.22
$1,848.42
$1,857.66
$1,866.95
$1,876.28

$74,634.81
$73,074.70
$71,506.80
$69,931.05
$68,347.43
$66,755.88
$65,156.38
$63,548.88

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$58,678.00
$57,038.11
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$53,733.69
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$50,396.15
$48,714.85
$47,025.14
$45,326.99
$43,620.34

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$38,449.04
$36,708.00
$34,958.26
$33,199.77
$31,432.49
$29,656.37
$27,871.37
$26,077.45
$24,274,586
$22,462.65

$20,641.68
$18,811.61
$16,972.39
$15,123.97
$13,266.31
$11,399.36

$9,523,08

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Case 1-19-42554-Cec

$9,523.08
$7,637.41
$5,742.32
$3,837.75
#1 923.66

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$47.62
$38.19
$28.71
$19.19

$9.62

year 5 end

$1,885.66
$1,895.09
$1,904.57
$1,914.09
$1,923.66

$7,637.41
$5,742.32
$3,837.75
$1,923.66

$0.00

by Calculator.net

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5/23/2016
Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22/1o 12.4900

EXHIBIT F
Case 1-19-42554-Cec

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Date Payment Princlpal Interest Total Interest Balance
Nov, 2016 $4,071.84 $704,81 $277.20 $277.20 $54,845.39
‘Dec 2018 . $4,071.84 $798.58 $273.23 $860.43 $53,846.81
dan. 2017 $4,071.84 $802.58 $269.23 $819.66 $53,044.23
Feb, 2017 $4,071.81 $806.69 $285.22 $1,084.88 ) $52,257.64
Mar. 2017 $1,071.81 $810.62 $261.19 $1,348.07 $51,427.02
4 April 2017 $1,071.81 $814.68 $257.14 $1,603.21 $50,612.34
4 May 2017 $1,074.81 $818.75 $253.06 $1,858.27 $49,793.59
dune 2047 $1,071.81 $822.84 $248.97 $2,105.24 $48,970,75
“July 2017 $4,071.81 $826.96 $244.85 $2,350.08 $48,143.79
Aug. 2017 $1,071.84 $831.09 $240,72 $2,590.81 $47,312.70
Sept 2017 $4,071.81 $835.25 $236.56 $2,827.37 $46,477.46
Oct. 3017 . $4,071.81 $399.42 $232.39 $2,088.78 $45,638.03
Now, 2017 44,071.84 $843.82 $228.19 $3,287.95 $44,794.41
Dec, 2017 $1071.81 $847.84 $223.97 $3,511.92 $43,948.57
Jan, 2018 $1,071.84 $862.08 $219.73 $3,731.65 $43,094.50
Fab, 2018 $1,071.81 $856.34 $215.47 $3,947.13 $42,298.16
. Mar, 2018 $1,071.81 $860.62 $211.19 $4,158.32 $41 377.54
April 2018 $1,074.81 $864.92 $206.89 $4,365.20 . $40,512.62
May 2018 $1,071.81 $869.25 $202.86 $4,567.77 . 539 643,37
June 2018 $1,071.81 $873.89 $198.22 $4,765,968 $38 768.77
July 2078 $1,071.81 $077.96 $193.85 : 34,956.62 $37 891.81
Aug. 2018 $1,074.81 $882.35 $189,465 $5,149.28 . $37 009.46
Sept 2018 . $1071.81 3908.76 _ $185.05 $5,334.34 $36,122.70
Oet. 2018 $1,074.84 $691.20 “ “giao! $5,514.95 $35,221.50
Nov, 2018 $1,071.81 $895,665 $176.16 95,001.17 | "34,395.88 _
Nec. 2018 $1,071.81 $900.13 $174.68 $5,862.79 $33,435.72
Jan. 201¢ $1,071.81 3904.63 $167.18 $6,029.97 $32,531.08
Feb. 2019 $1,071.81 $909,168 $162.66 $6,192.82 ‘Ba 621.93
Mar. 2019 $1,071.84 $913.70 $156.11 $6,350.73 $30,708.23
April 2019 storie! $918.27 $153.54 $6,504.27 $20,769.96
May 2019 . ‘07181 $002.86 - $148.95 $6,853,22 $28,867.10
June 2018 $1,071.84 $927.48 $144.34 $6,797.56 "$27,989.62
July 2019 $1,071.81 $002.11 : $139.70 $037 28 $27 007.51
Aug. 2019 $1,071.84 $936.77 $135.04 $7,072.30 $08,070 74

 

 
Case 1-19-42554-Cec

Doc LUo  =FieadUfizcilo §=—Entered Of//22/10 124900

 

 

Principal

interest

Balance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Payment Total Interest
Sept, 2018 $1,074.81 $841,468 $130.35 $7 202.65 $25,129.28
Osi, 2019 $1,071.81 $848.16 $125.85 ~ $7,926.30 $24,183.12
Nev, 2019 $4,071.81 $950.89 : $12082 $7,449.24 $23,232 22
bec. 2018 $1,071.84 $955.85 $116.18 $7,565.37 $22,276.57
Jan, 2020 $1,071.81 $960.43 $117.38 $7,676.78 $21,318.15
Feb. 2020 $41,071.94 $965.23 5108.56 $7,780.34 $20,350.92
Mar. 2020 $1,071.84 $970.06 - 101,75 $7,885.09 $79,380.86
April 2020 $1,071.84 $974.91 $96.90 $7,982.00 $18,406.95
May 2020 $1,071.81 $979, 78 $92.03 $8,074.02 ~ $17,426,17
“June 2020 $1,077.81 $984.88 $87.13 $8,161.16 $18,441.49
sully 2020 $1,071.81 "9989.80 $42.21 $8,243.38 $15,451.89
Aug, 2020 $1,071.81 $994.55 $77.28 “ “9632082 0 Sa as7 34 -
Sept, 2020 $1,071.81 $899.52 $72.29 $8 392.91 : $13,457.82
Oct 2020 $1,071.84 $1,004.52 $67.29 $8,480.20 $12,453.28
Nov. 2020 $4,071.84 $1,008.54 $62.27 $8,522.48 $11,443.75
Dec, 2020 $1,071.84 $1,014.88 $57 22 $3,579.68 $10,428.16
“Jan 2021 $4,071.84 $1,019.66 $52.45 $3,631.83 $9,408.49
Feb, 2021 $1,071.81 $1,024.78 $47.08 ~ $8,878.88 $8,384.73
Mar. 2021 $1,071.84 $1,029.69 $44.92 $8,720.80 37,354.64
Apel 20214 - 5107181 "$1,098.04 $38.77 "69,737.87 $6,319.81
“May 2021 31,071.81 $1,040.21 $34 80 ) $8,789.17 $5,279.60
“June o001 - $1,077.81 , $1,045.41 “928.40 $3,815.57 $4,234.18
duly 2024 $4,071.81 $1,080.64 $21.17 $8,826.74 - $3,183,54
Aug. 2021 $1,071.81 $1,085.40 $15.92 $8,852.66 $2,127.85
Sept. 2024 $1,071.81 $1,061.17 $10.4 $8,863.30 $1,066.48
: Oct, 2021 $1,071.81 $1,086.48 $8.38 "$6,868.68 $0,00

 

 
Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22ilo 12.4900

EXHIBIT G
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22ilo 124900

Date Payment Princtpal interest Total interest Balance

Now. 2016 $4,816.65 $3,570.86 $1,245.70 $1,245.70 $245,568.14

‘Dee. 2016 $4,816.55 $9,588.71 gt 297 84 - $2,473.54 — $241,979.43 /
dan. 2017 $4,816.55 $3,608.06 $1,209.80 "$3,683.43 $238,372.77
Feb, 2017 $4,816.55 $3,624.68 $1,191.86 $4,875.30 $234,748.08

‘Mar 2017 $4,816.55 $3,640.81 $1,173.74 ° $6,049.04 $231,108.26
April 2017 $4,816.55 $3,661.03 $1,155.53 $7,204,568 $227,444.23
May 2017 $4,816.55 $3,879.33 $1,137.22 $8,341,728 $223,764.50 -
June 2017 34,816.55 - $3,607.73 $4,118.82 $9,450.61  spaoceri7 |
duly 2017 $4,816.55 $3,716.22 $1,100.34 $10,560.94 $216,350,95

4 Aug. 2017 $4,818.85 $3,734.80 $4,081.75 $11,642.70 $212,616.15
Sept. 2017 $4,816.56 $3,753.47 $1,069.08 312,705.78 $208,862.68

. “Oct 2017 $4,816.55 $3,772.24 $1,044.34 $13,750.09 - $205,090.44

‘Now. 2017 $4,316.65 $3,791.10 $1,026.45 $14,778,55 $201,299.33
Deo, 2017 $4,816.55 "$3,810.06 $1,006.50 $15,782.04 3197,489.27 :
‘an. 2018 $4,816.55 $3,828.11 . $987.45 $18,769.49 _ $193,660.17
Feb. 2018 $4,816.55 $3,848.25 $968.30 $17,737.79 $189,811.91

» Mar 2018 $4,816.55 $3,867.50 $949.06 $18,686.85 $185,944.42
April 2018 $4,816.55 93,888.63 $929,72 — sigaieg? , $182,057.58

May 2018 $4,816.55 $3,006.27 $910.29 $20,526.68 $178,151.32

June 2018 $4,816.55 $3,926 80 $690.76 . $21,417.62 $174,225.52

‘July 2016 $4,816.55 , $3,945.43 $871.13 522,280.74 ~ $170,280.08
‘Aug, 2018 — 34,016.55 $3,085.15 $851.40 $23,140.14 $166,314.94
Sept 2018 - $4,816.55 $3,984 98 $831.57 . 623,971.72 $162,329,96
Qet, 2018 $4,816.55 - $4,004.91 $841.85 $24,783.87 $158,325,05
Now 2018 $4816.55 _ ~ $4,02493 8791 ea 925,574.99 $154,300.12
Dec, 2018 $4,818.55 $4,045.05 $774.50 $26,346.48 $150,255.07
Jan. 2018 $4,016.65 $4,085.28 $751.28 $27,097.77 $146,189.79
Feb, 2019 $4,816.55 $4,085.61 $730.95 $27,828.72 $142,104.18
Mar, 2019 34,216.68 ~ $4,108.03 $710.52 $28,539.24 $137,098.15 _
‘April 2018 34,818.58 $4,126.56 $689.99 $29,290.23 . $133,871.59 .
May 2019 $4,816.55 $4,147.20 $689.36 $29,898.59 . $129,724.39

June 2019 $4,816.55 a $4,167.93 $648.62 - 520,547.21 — $125,556.46
hy28 451058 $4,168.77 $627.78 $31,174.99 $121,387.80
“Nu. 2019 $4,816.55 - “34,200.72 3608.84 391,78183 $117,187.97

 
Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22ilo 124900

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Payment Principal Interest Total Interest Balance
Sept. 2019 $4,816.55 $4,230,777 $565.79 $32,367.62 $112,927.20
“+ Oct, 2019 34.31 6.85 $4,251 Pe $564.64 $32,932.28 $108,475.28
el rs t 4 .
Nev. 2049 $4,816.55 $4,273.18 $543.38 $33,475.63 $104,402.10
Dec. 2049 $4,516.55 $4,294.54 $522.01 $33,997.64 $100,107.58
Jan. 2020 $4,816.55 $4,316.02 $800.54 $34,498.18 $95,791.54
: : Feb, 2020 $4,816.55 $4,337.60 $476,96 $34,977.14 $91 453.95
. Nar 2020 $4,816.55 $4,359.20 $487.27 $35,434.44 $87,004.86 ~
| April 2020 $4,816.55 $4,381,08 $435,47 $35,869,638 $82,713.58
May 2020) $4,816.55 $4,402.99 $413.57 $36,283.45 378,310.59
June 2020 $4,816.55 $4,425.00 $391.55 $36,675.00 $73,885.59
July 2020 $4,816.55 34.447 13 . 3369.43 $37,044.43 569,436.46
Aug. 2020 " 94,91885 $4,460.96 ‘su7te $97,291.62 364,969.10
‘Sept 2020 $4,818.55 ~ $4,491.74 $324.88 $37,718.47 "$60,477.38
“Oel 2020 . $4,816.55 $4,514.17 $302.38 $98,018.86 $05,003.22
Nov. 2020 $4,816.55 $4,536,74 $279,82 $38,298,67 $51,428.48
Dec. 2020 $4,816.55 $4,559.42 $257.13 $38,565.80 $46,867.06
Jan. 2021 $4,816.55 $4,582.22 $224.34 $08,790.14 "$42,284.34 -
Feb, 2021 $4,818.55 $4,608.13 $211.42 $39,001.56 $37,679.71
“Mat, 2021 64,616.55 “$4,828.16 - $188.40 $39,169,968 $09,051.55 ~
April 2021 34,916.55 34,651.50 $185,268 $39,355.22 $28,400,26
May 2021 $4,816.55 $4,674.65 $142.00 $39,497.22 $23,725.71
June 2021 $4,816.55 $4,697.93 $118.63 "$39,615.85 $19,027.78
‘ehy 202" B4,816,55 $4,721.42 $95.14 $39,710.59 814,308.26
Aug. 2021 34,818.55 $4,748.02 $71.53 $39,792.52 39,561.34
Sept. 2021 $4,816.55 34,780.75 a7 ai $39,830.33 - $4,792.59
Oct. 2021 $4,816.55 $4,792,590 $2396 $39,854,29 $0.00

 

 
Case 1-19-42554-Cec

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EXHIBIT H
Case 1-1lo-4250904-cec DOC LVUo FiedOfiecilo Entered O//22/lo 12.4900

12:03 PM
05/27/16
Accrual Basis

ASSETS
Current Assets
Chacking/Savings
cash
Checking at Signature Bank NY-
signature-savings
Total Checking/Savings
Other Current Assets
Accounts Recelvable,
Inventory
Prepaid expenses
Total Other Current Assets
Total Current Assets
Fixed Assets
Accumulated Depreciation
computer equipment
equipment
Furniture
leasehold Improvements
pos system
sound system
Total Fixed Assets
Other Assets
prepaid rent
Security Deposits Asset

Total Other Assets
TOTAL ASSETS

LIABILITIES & EQUITY
Liabilities
Current Liabilities
Other Current Liabilities

Payroll Liabilities
Federal Taxes (941/944)
Federal Unemployment (940)
NYS Employment Taxes
NYS Income Tax
Payroil Liabilities - Other

Total Payroll Liabilities

Payroll Liability

professional fees payable

RENT PAYABLE POSTPETITION

sales tax payable

unsecured priority claims
accounts payable

business debt

prime 6

Balance Sheet
As of April 30, 2016

Apr 30, 16
|

6,218.52
4,935.99
15,000.00

26,164.51

7,558.48
61,277,85
13,759,841

82,596.14

108,750.65

222,306.00
8,100.00
48,697.00
50,000.06
939,055.00
2,000.00
11,000.00

836,546.00

16,000.00
46,917.00

62,917.00
1,068,213.65

95,237.43
2,165.03
26,298.45
20,342.97
~108,170.59
35,873.20
6.95
4,680.00
3,749.28

21,184.63

161,091.01
$12,557.08

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Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22ilo 124900

O5/27/16
Accrual Basis Balance Sheet
As of April 30, 2016
Apr 36, 16
Eee
irs payroll tax 335,769.68
nys corp tax 207.05
nys dept of labor 3,797.93
nys sales tax 287,694,380
nys withholding tax 111,124.28
rent payable 200,000.00
unsecured priority claims - Other 3,027.42

Tetaf unsecured priority claims
Total Other Current Liabilities
Total Current Liabilities
Tota! Liabilities
Equity
paid in capital
Retained Earnings
Net Income

Total Equity
TOTAL LIABILITIES & EQUITY

1,615,269,25
1,680,763,40
1,680,783,40
1,680,763.40

801,601.00
~1,493,695.97
19,545.22

-672,549.75
4,008,213.65

Page 2 of 2

 

 

 
Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22ilo 124900

EXHIBIT I
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Case 1-19-42554-Cec

Net Sales
COGS

Gross Income:
Expenses:
Wages

Payroll Tax
Event Planning
Insurance
Janitorial
Office supplies
Outside labor
Professioanl fees
Rent

Security
Utilities
Prmoters/DJs

Toial expenses:

Net income

Class VI Contibution

Cash at Beginning of the Month
US Trustee Fees

Ch If Payments

Net Cash Flow for the Month

Aug, 2016
$223,000.00
$90,006.00
$133,000.00

$52,000.00
$10,000.00
$4,000.00
$4,000.00
$1,000.00
$2,000.00
$4,500.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$3,000.00

$108,100.00
$24,900.00
$5,000.00
$5,000.00
$0.00
$15,910.59
$8,989.41

PROJECTED PROFIT (LOSS)
FOR THE TWELVE MONTHS ENDED JULY, 2021

Sept, 2016

$223,000.00
$90,000.00
$133,000.00

$52,000.00
$10,000.00
$4,000.00
$4,000.00
$1,000.00
$2,000.00
$4,500.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$3,000.00

$108,100.00
$24,900.00
$5,000.00
$8,989.41
$0.00
$15,910.59
$5,000.00

Ost, 2016

$223,000.00
$90,000.00
$133,000.00

$52,000.00
$10,000.00
$4,000.00
$4,000.00
$1,000.00
52,000.00
$4,500.00
$600.00
$18,006.00
$5,000.00
$4,000.00
$2,000.00

$107,100.00
$25,900.00
$5,000.00
$5,060.00
$4,875.00
$15,910.59
$5,114.41

Novy, 2016

$220,000.00
$90,000.00
$130,000.00

$52,000.00
$10,000.00
$3,000.00
$4,000.00
$1,000.00
$2,000.00
$4,500.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$2,006.00

$106,100.00
$23,900.00
$5,000.00
$5,114.41
$0.00
$15,910.59
$7,875.00

Dee, 2016

$220,000.00
$90,000.00
$130,000.00

$52,000.00
$10,000.00
$3,000.00
$4,006.00
$1,006.00
$2,000.00
$4,500.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$2,000.00

$106,100.00
$23,900.00
$5,000.00
$7,875.00
$0.00
$15,910.59
$5,114.41

Jan, 2017

$200,000.00
$83,000.00
$117,000.00

$46,900.00
$8,500.00
$3,000.00
$4,000.00
$1,000.00
$1,800.00
$4,000.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$2,000.60

$98,800.00
$18,200.00
$5,000.00
$5,114.41
$4,875.00
$15,910.59
-$2,700.00

Feb, 2017

$200,000.00
$83,000.00
$117,000.00

$46,900.00
$8,500.00
$3,000.00
$4,000.00
$1,000.00
$1,800.00
$4,000.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$2,000.00

$98,800.00
$18,200.00
$5,000.00
-82,700.00
$0.00
$15,910.59
$9,989.41

$200,000.00
$83,000.06
$157,000.00

$46,900.00
$8,500.00
$3,060.00
$4,000.00
$1,000.00
$1,800.00
$4,000.00
$600.00
$18,600.00
$5,000.00
$4,000.00
$2,000.00

$98,800.00
$18,200.00
$5,000.00
$9,989.41]
$0.00
$15,916.59
-$2,700.00

March, 2017 Apr, 2017

$210,000.00
$86,000.00
$124,000.00

$50,900.00
$11,000.00
$4,500.00
$4,000.00
$1,000.00
$2,200.00
$4,900.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$4,000.00

$110,100.00
$13,900.00
$5,009.00
-$2,700.00
$4,875.00
$15,910.59
$814.41

May, 2017

$225,000.00
$92,000.00
$133,000.00

$50,900.00
$11,000.00
$4,500.00
$4,000.00
$1,000.00
$2,200.00
$4,900.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$4,000.00

$110,100.00
$22,900.00
$5,000.00
$814.41
$0.00
$15,910.59
$11,175.00

June, 2017

$225,000.00
$92,000.00
$133,000.00

$50,900.00
$11,000.00
$4,500.00
$4,000.00
$1,000,00
$2,200.00
$4,900.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$4,000.00

$110,160.00
$22,900.00
$5,000.00
$11,175.00
$0.00
$15,910.59
$814.41

July, 2017

$220,000.00
$90,000.00
$130,000.00

$50,900.00
$11,000.00
$4,500.00
$4,000.00
$1,000.00
$2,206.00
$4,900.06
$600.00
$18,009.00
$5,000.00
$4,000.00
$4,000.00

$110,100.00
$19,900.00
$5,000.00
$814.41
$4,875.00
$15,910.59
$3,300.00
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Case 1-19-42554-Cec

Aug, 2017
$220,000.00
$90,000.00
$130,000.00

$50,900.00
$11,000.00
$4,500.00
$4,000.00
$1,000.00
$2,200.00
$4,900.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$4,000.00

$110,100.00
$19,900.00
$5,000,00
$3,300.00
$0.00
$15,910.59
$5,689.41

Sep-17
$220,000.00
$90,060.00
$130,000.00

$50,900.00
$11,000.00
$4,500.00
$4,000.00
$1,000.00
$2,200.00
$4,900.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$4,000.00

$110,100.00
$19,960.00
$5,000.00
$5,689.41
$0.00
$15,910.59
$3,300.00

Oct-17
$216,000.00
$80,000.00
$130,000.06

$50,900.00
$11,000.00
$4,500.00
$4,000.00
$1,000.00
$2,200.00
$4,900.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$4,000.00

$110,100.60
$19,900.00
$5,000.00
$3,300.00
$4,875.00
$15,910.59
$814.41

Nov-17
$210,000.00
$79,680.00
$130,320.00

$50,900.00
$11,000.00
$4,500.00
$4,000.00
$1,000.00
$2,200.00
$4,900.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$4,000.00

$110,100.00
$20,220.00
$5,000.00
$814.41
$0.00
$15,910.59
$8,495.00

 

Dec-17
$210,006.00
$79,680.00
$130,320.00

$50,900.00
$11,000.00
$4,500.00
$4,000.00
$1,000.00
$2,200.00
$4,900.00
$600.00
$18,000.00
$5,000.00
$4,000.00
$4,000.00

$140,100.00
$20,220.00
$5,000.00
$8,495.00
$0.00
$15,910.59
$814.41

 

Jan-18
$205,000.00
$76,000.00
$129,000.00

$52,300.00
$9,000,00
$3,900.00
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Feb-18
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Mar-18
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Case 1-19-42554-Cec

Nov-18
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Case 1-19-42554-Cec

Feb-20
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Apr-20
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Apr-21
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Case 1-19-42554-Cec

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EXHIBIT J
Case 1-1o-4250904-cec DOC LlVUo FiedOfiecilo Entered O//22/lo 124900

 
    

Business eBanking

talk tous’

Activity - Deposit Account

Report created: 05/27/2016 11:05:54 AM (ET)

Account Information

Account: Checking * Operating Account - Available $94,956.55

Available balance: $904,956.55 :
Current balance: $94,956.55 '
Accessible balance: $94,956.55 2

Transaction History
Date range: 6/1/2046 to §/27/2016 1
Transaction types: All transactions ,

         

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05/27/2016 DISCOVER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OSAMIED = oE- PREAUTHORIZED ACH DEBIT $3,008.68 $94,056.55 !
05/26/2016 00000005403 0000008403 CHECK PAID $5,000.00 $97,965.23 |
05/26/2016 09000008398 oo000008398 CHECK PAID $2,365.79 $102,885.23 :
05/26/2016 99000005402 0000005402 CHECK PAID $2,365.78 $105,331.02 :
05/26/2016 997000526075311 BOOK TRANSFER DEBIT $24,489.16 $107,896.80
05/28/2016 00000005377 00000005377 CHECK PAID $2,000.00 $132,185.96
05/25/2016 00000005378 00000005378 CHECK PAID $1,919.38 $134,185.96
05/25/2016 00000005371 90000008371 CHECK PAID $1,919.38 $136,105.34
05/25/2016 00000005378 90000005379 CHECK PAID $1,600.00 $138,024.72
05/25/2016 IRS us PREAUTHORIZED ACH DEBIT $1,188.62 $139,624.72
05/25/2016 AUDI FINCL, INC. PREAUTHORIZED ACH DEBIT $569.86 $140,813.34
05/25/2016 997000525074734 BOOK TRANSFER CREDIT $24,489.16 $141,383.20 !
05/25/2016 997000525074732 BOOK TRANSFER CREDIT $24,489.18 $116,894.04 |
05/24/2016 ReadyRetresh PREAUTHORIZED ACH DEBIT $43.54 $92,404.88 :
05/24/2016 997000524145136 BOOK TRANSFER CREDIT $36,061.27 $92,448.42 |
05/23/2016 00000005376 99000005376 CHECK PAID $11,000,00 $56,387.15 !
05/23/2016 (00000005345 90000008345 CHECK PAID $246.00 $67,387.15
05/23/2016 NeW YOR LIFE PREAUTHORIZED ACH DEBIT $27.20 $67,833.15
05/19/2018 g00008967614225 BILL PAYMENT $650.00 $67,860.35
05/18/2018 NY LONAL GRID PREAUTHORIZED ACH DEBIT $47.16 $68,310.35
05/18/2018 997000518081219 BOOK TRANSFER CREDIT $37,000.00 $68,357.51
05/17/2016 NeW YORK LIFE PREAUTHORIZED ACH DEBIT $112.94 $31,357.51
05/17/2018 WY YORK LIFE PREAUTHORIZED ACH DEBIT $52.07 $31,470.42
05/17/2016 00000005375 90000005375 CHECK PAID $80.00 $31,522.49
05/16/2016 00000005374 00000005374 CHECK PAID $5,000.00 $31,602.49

 

 

05/16/2016 00000005372 00000005372 CHECK PAID $2,400.00 $38,602.49

 
 

Case 1-19-425954-CeCc

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05/16/2016 PROFESSIONAL PREAUTHORIZED ACH DEBIT $425.00 $39,002.49
05/16/2016 00000005373 00000005373 CHECK PAID $259,00 $39,427.49
05/16/2016 997000516074747 BOOK TRANSFER CREDIT $15,000.00 $39,680.49
05/13/2016 DEPOSIT $224.50 $24,680.49
05/12/2016 ooocc00s369 90000005369 CHECK PAID $1,200.00 $24,455.99
05/12/2016 00000008328 00000005328 CHECK PAID $259.63 $25,655.99
05/11/2016 onogs005368 00000005368 CHECK PAID 81,800.00 $25,015.62
05/11/2016 IRS Us PREAUTHORIZED ACH DEBIT $1,188.60 $27,715.62
08/11/2016 RDN ED OF NY PREAUTHORIZED ACH DEBIT $350.23 $28,904.22
05/11/2016 0000005355 00000005358 CHECK PAID $188.70 $29,254.45
05/11/2046 GON ED OF NY PREAUTHORIZED ACH DEBIT $26.94 $29,443.15
08/10/2018 Payrolt Ta PREAUTHORIZED ACH DEBIT $968.31 $29,470.09
06/10/2016 00000005363 00000005363 CHECK PAID $95.00 $30,438.40
05/10/2016 9970005 10083044 BOOK TRANSFER CREDIT $8,000.00 $30,533.40
05/09/2016 00000005359 0000005359 CHECK PAID $2,039.00 $22,533.40
05/09/2016 opMORGAN PREAUTHORIZED ACH DEBIT $2,000.00 $24,572.40
05/09/2016 oR PREAUTHORIZED ACH DEBIT $2,000.00 $26,572.40
05/09/2016 RP YORK LIFE PREAUTHORIZED ACH DEBIT $28.86 $28,572.40
05/09/2016 OR CAN PREAUTHORIZED ACH CREDIT $2,000.00 $28,601.26
05/09/2016 DEPOSIT $311.25 $26,601.26
05/06/2016 pocc000s368 oocco000s366 CHECK PAID $2,304.00 $26,290.01
05/06/2016 90000005351 00000005351 CHECK PAID $132.25 $28,594.01
05/06/2016 90000008362 00000005362 CHECK PAID $95.00 $28,726.26
05/06/2016 90000008361 00000005361 CHECK PAID $95.00 $28,821.26
05/06/2016 00900005364 0090005364 CHECK PAID $95.00 $28,916.26
05/06/2016 00000005329 0000005329 CHECK PAID $39.28 $29,011.26
05/05/2016 00000005353 00000005353 CHECK PAID $4,000.00 $29,050.54
05/05/2016 00000005331 00000005331 CHECK PAID $200.00 $33,050.54
05/05/2016 00000005305 00000008305 CHECK PAID $846.00 $33,250.54
05/04/2016 9000005354 oco00006354 CHECK PAID $3,999.50 $34,096.54
05/04/2016. 0000005350 00000005350 CHECK PAID $6,727.00 $38,006.04
05/04/2016 9000005348 96000005348 CHECK PAID $679.43 $44,823.04
05/04/2016 90000005347 90000005347 CHECK PAID $159.00 $45,502.47
05/04/2016 0000005344 90000008341 CHECK PAID $1,919.38 $45,652.47
05/04/2018 00000005365 90000005365 CHECK PAID $4,410.70 $47,571.85
05/03/2016 00000005360 90000005360 CHECK PAID $4,362.00 $51,982.55
05/03/2016 00000005358 00000005358 CHECK PAID $2,980.00 $56,344.55
05/03/2016 00000005357 00000005357 CHECK PAID $2,384.00 $59,324.55
05/03/2016 00000005356 00000005356 CHECK PAID $2,445.00 $61,708.55
05/08/2016 00000005342 00000005342 CHECK PAID $1,000.00 $64,153.55
06/03/2016 00000005332 00000005332 CHECK PAID $67.68 $65,153.55
05/03/2016 00000005327 00000005327 CHECK PAID $150.00 $65,221.23

 
 

Case 1-19-42554-Cec

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05/03/2018 Wells Fargo Bank PREAUTHORIZED ACH DEBIT $695.06 $65,371.23
05/03/2016 PROFESSIONAL PREAUTHORIZED ACH DEBIT $125.00 $65,066.29
05/02/2016 00000005349  a000000834¢ «= CHECK PAID $38.64 $86,191.29
05/02/2016 gcooo00s34s go000005346 «= CHECK PAID $95.00 $86,229.93
05/02/2016 09000006343 0000005343 = CHECK PAID $45.00 $86,324.93
05/02/2016 0000008335 00000008335 == CHECK PAID $1,200.00 $86,369.93
05/02/2016 00000005334  g0000005334 «= CHECK PAID $98.00 $67,569.93
05/02/2016 0000000330 -g0000005330 «= CHECK PAID $102.73 $67,664.93
05/02/2016 00000008312 00000008312. = CHECK PAID $450.00 $87,767.63
05/02/2016 goo0000s274 00000005274 «= CHECK PAID $17.38 $68,217.68
05/02/2016 DISCOVER PREAUTHORIZED ACH DEBIT $250.00 $68,235.04

 
